ORIGINAL

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BOBBY A. GHAJAR (SBN 198718)

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MARCUS D. PETERSON (SBN 265339) 5

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PILLSBURY WINTHROP SHAW PITTMAN LLP

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- Facsimile No.: (213) 629-1033 1EKING
BOARD TS mcr COURT

HERN DISTRICT OF CALIFORNIA -
NORT SAN JOSE

—_—

 

Attorneys for Plaintiff
OPTIVER AUSTRALIA PTY LTD. & ANOR.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA I =

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ANOR:
DECLARATION OF JAMES
LAWRENCE IN SUPPORT OF
OPTIVER’S REQUEST FOR
JUDICIAL ASSISTANCE

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Plaintiff,

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TIBRA TRADING PTY LTD. & ORS.,

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Defendant,

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I, James Lawrence, Solicitor, declare as follows:

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I, 1am employed as a Senior Associate of the Australian law firm King &

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Wood Mallesons (‘3C¢WM”), solicitors for the applicants in court proceedings before the

Ko
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Federal Court of Australia. Subject to the supervision of the solicitor on the record for the

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applicants, Maurice Gonsalves, I have day to day carriage of this matter. The matters set

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forth in this declaration are based upon my personal knowledge, except where otherwise

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indicated, and if called as a witness I could and would testify competently thereto. I make

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this declaration in support of Optiver’s Request for Judicial Assistance.

~j- DECLARATION.GF JAMES LAWRENCE IN
SUPPORT OF OPTIVER'S REQUEST FOR JUDICEAL
- ASSISTANCE

Case No,

 

 

 
 

 

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Background of the Proceedings

2. The proceedings are entitled Optiver Australia Pty Ltd & Anor v Tibra
Trading Pty Ltd & Ors, NSD.681 of 2009, The proceedings were commenced in the New
South Wales District Registry of the Federal Court of Australia on 8 July 2009.

3. The applicants in these proceedings, and the petitioners on this motion, are
Optiver Australia Pty Ltd (“Optiver”) and Optiver Trading Pty Lid. The first applicant,
Optiver, conducts a proprietary arbitrage business on markets including the Australian
Stock Exchange (ASX) and the Sydney Futures Exchange (SFE). It is an official “market
maker” on the ASX, SFE and other international exchanges.

4, The respondents in these proceedings are Tibra Trading Pty Ltd (“Tibra’,
Tibra Capital Pty’ Lid, Tibra Investment Management Ltd, Tibra Global Services Pty Ltd
(together, the “Tibra eempanies”), Mr. Dinesh Bhandari, Mr. Glenn. Williamson, Mr.
Timothy Berry, Mr. Andrew King, Mr, Kinsey Cotton, Mr. Martin Nickolas and Mr.
Nicholas Begg,

5. The first respondent, Tibra, operafes a proprietary arbitrage trading business
in direct competition to Optiver. Each of the personal respondents was an employee of
Optiver and, between November 2005 and November 2006,-each left the employment of
Optiver and established and/or became an employee or shareholder of one or more of the
Tibra companies,

6. The proceedings concern a suite of computer programs designed, developed
and written by employees of Optiver between 2003 and 2006 for the purposes of providing
4 custom auto-trading system on multiple markets (the “Optiver source code”),

7 The applicants allege that the respondents copied and used Optiver’s source
code, which embodies its confidential information and copyright works, to create their own
computer programs for use in their own auto-trading business (the “Tibra source code”).
In addition, the applicants allege that certain of the individual respondents were actively
involved, during their employment with Optiver, in establishing the Tibra companies as a

competitor to Optiver in breach of their fiduciary and/or contractual obligations to Optiver.

-2.- - DECLARATION OF JAMES: LAWRENCE IN SUPPORT
OF OPTIVER’S REQUEST FOR JUDICIAL

ASSISTANCE

Case No.

 

 
 

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&. Accordingly, the proceedings concern allegations of copyright infringement,
breach of confidence, breach of contract, inducing breach of contract and breach of
fiduciary duties against the respondents. .

9. Prior fo commencing the proceedings, Optiver sought preliminary discovery
against certain of the respondents in June 2007. In February 2009 an order for preliminary
discovery was made and the respondents gave categorized preliminary discovery, an.

analysis of which formed the basis for the commencement of the present proceedings in the

Federal Court of Australia. Further discovery was subsequently ordered and made by the

respondents both in respect of the preliminary discovery proceedings and in the current
proceedings.

‘10. The discovery given in the main proceedings was found by the Court.to be
inadequate and an order for further discovery was made in June 2012. Annexed to this
declaration and marked Exhibit 1 is a copy of the orders made by the Court on 14. June
2012, Annexed to this declaration and marked Exhibit 2 is a copy of the judgment of the
Court dated. 14 June 2012,

Basis of application for subpoena to Googie, Inc.

11. Documents discovered by the respondents indicate that several of the
individual respondents, and several other key employees of the Tibra companies, had the
following “Gmail” accounts with Google, Inc, from November 2005 onwards:

a. campbeilnorwood@smail.com:

b, christianking’ 1@smail.com;

c. eurokane@email.com;

d, kingos@zmail.com;

e, nickbeze@email.com:;

f. raska27@email.com;
roohif@email.com; and
rottengarabaldi(@email.com.

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3. DECLARATION OF JAMES LAWRENCE IN SUPPORT
OF OPTIVER’S REQUEST FOR JUDICIAL

ASSISTANCE

Case No.

 
 

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12. The email account mentioned at 11(a) is that of Mr. Campbell Terrence
Norwood, a director of three of the Tibra companies. The email account mentioned at
11(6) is that of Mr, Christian James King, a former director of three of the Tibra companies.
Neither Mr. Norwood nor Mr. Christian King are named respondents to the proceedings,

13. The email accounts mentioned at 11(c) and 11(d) above are those of Mr.
Andrew King, the eighth respondent. The email account mentioned at 11(e) is that of Mr.
Nicholas. Begg, the eleventh respondent. The email account mentioned at 11(f}is that of
Mr. Timothy Berry, the seventh respondent, The email account mentioned at 11(g) is that
of Mr. Glenn Williamson, the sixth respondent. The email account mentioned at 11(h) is
that of Mr. Kinsey Cotton, the ninth respondent. Annexed to this declaration and marked
Exhibit 3 are copies of emails discovered by the Respondents in the proceedings which.
provide evidence of the existence of these email accounts,

14, The applicants seek the proposed subpoena to determine certain information
about the identified Gmail accounts, including what emails, email attachments or Google
Talk messages were sent or received by those accounts:

a, while the individual respondents were still employed by Optiver:

b. while the individual respondents and other key employees of the Tibra
companies were involved in establishing, or were working for, the Tibra
compatiies: and

c. while the preliminary discovery and the current proceedings were on
foot.

15. This information is potentially of eritical importance to the case because the
Respondents’ discovery has been grossly inadequate. In particular, the Respondents have
discovered relatively few documents from the critical period June-November 2006 when
they were setting up Tibra and developing the Tibra source code. Furthermore, there is
evidence that certain of the individual respondents destroyed evidence in the lead-up to

both the preliminary discovery proceedings and the current proceedings,

wd DECLARATION OF JAMES LAWRENCE IN SUPPORT
OF OPTIVER’S REQUEST FOR JUDICIAL

ASSISTANCE

Case No,

 

 
 

 

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16, For example, despite the respondents’ evidence that development of the
Tibra source code began in June 2006, no versions of the source code repository prior to 5
September 2006 were produced to the applicants in the preliminary discovery, Discovery
produced by the respondents themselves demonstrate that this is because al! versions of the
Tibra source code repository in existence as at 5 September 2006, including the main
“master” repository as well as “local” copies on individual developers’ computers, were
either deleted or “overwritten” (see paragraph 19 below).

17, | When the applicants sought an order in July 2009 to inspect the computers
of three of the individual respondents in an effort to find versions of the Tibra source code
prior to 5 September 2006, the respondents’ solicitors notified the applicants’ solicitors that
the relevant computers had either been disposed of in a rubbish bin (despite preliminary
discovery proceedings being on foot) or had been given away. A copy of the letter from the
respondents’ solicitors is annexed to this declaration and marked Exhibit 4.

18 Subsequently, on 22 December 2009, the applicants’ solicitors received an
unprompted ietter from the respondents’ solicitors enclosing a copy of the first twelve
versions of the Tibra source code to 31 July 2006 which they stated had been found by Mr.
Glenn Williamson, the sixth respondent, on a USB stick at his home. However, despite
providing a copy of this early Tibra source code repository to the applicants’ solicitors, the
respondents’ solicitors informed them that the actual USB stick on which it had been found
had been disposed of by Mr. Williamson who had placed it in a rubbish bin ata shopping
centre, A copy of the letier from the respondents’ solicitors is annexed to this declaration
and marked Exhibit 5.

. 19. In June 2012 the applicants became aware of a document prepared by Mr,
Timothy Berry, the seventh respondent, entitled “Things To Do” which listed the following
item for the week starting 28 August 2006 (being one week before Tibra commenced

trading):

~5.- DECLARATION OF JAMES LAWRENCE IN SUPPORT
OF OFTIVER’S REQUEST FOR JUDICIAL

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Case No.

 

 
 

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Erase ail emails, sent items, deleted items, Skype chats, files etc from hard
drive. Copy all existing files into new files, Fill up or blast hard drive.
Destrey all paper correspondence, Discontinue PGP.

A copy of this document is annexed to this declaration and marked Exhibit

é,

20, In light of this, the applicants seek to test whether all documents relevant to
the proceedings, falling within the discovery categories and involving the identified Gmail-
accounts have been discovered by the respondents and whether any documents which may
have fallen within these categories were deleted ftom the identified Gmail accounts.

Grounds on which subpoenaed documents are sought

2 L. The applicants seek production by Google, Inc. of three categories of
documents.

22. The first category relates to all emails, email attachments or Google Talk
messages containing the words “PGP” or “Optiver” sent from or received by the identified
Gmail accounts between 1 January 2006 and 31 December 2007. The relevance of this
category is that from 12 April 2006 onwards it appears that several of the individual
respondents (and several other persons involved in establishing the Tibra companies) sent
numerous emails t0 one another that were encrypted with a “military grade” encryption
system known as PGP (“Pretty Good Privacy”). From the documents discovered by the
respondents, it appears that between 12 April 2006 and 20 August 2006 over 300 encrypted
messages were sent (the “PGP-encrypted emails”). By way of example, a copy of a PGP
encrypted email sent by one of the individual respondents from a Gmail account is annexed
to this declaration and marked Exhibit 7.

23. The PGP-encrypted emails cannot be read unless they are decrypted using a
passkey and passphrase, On 28 June 2010 the respondents’ solicitors wrote. to the
applicants’ solicitors stating that both they and theit clients had attempted to locate the-
relevant passkey and passphrase combinations to decrypt the PGP-encrypted emails but

without success. A copy of this letter is annexed to this declaration and marked Exhibit 8.

-6- DECLARATION OF JAMES LAWRENCE IN SUPPORT
OF OPTIVER'S REQUEST FOR JUDICIAL
ASSISTANCE,

 

Case No,

 
 

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24, However, on 6 June 2012 the applicants’ solicitors received a letter from the
respondents’ solicitors informing them that Mr. Andrew King, the eighth respondent, had
identified his passphrase, A copy of this letter is annexed to this declaration and marked
Exhibit 9. The identified passphrase was then used by the applicants to attempt to decrypt
the PGP-enerypted emails. Although it was successful in decrypting a small number, the
vast majority of the PGP-encrypted emails remain encrypted and cannot be read.

25. The applicants seek production of documents fal ling within the first category
to determine whether the PGP-encrypied emails discovered by the respondents are all of the
emails, email attachments or Google Talk messages which were encrypted with PGP
software and were sent to or from the identified Gmail accounts. The specific date range
sought, from 1 January 2006 through 31 December 2007, is relevant because it covers the
period from when certain of the individual respondents were still employed by Optiver to
when the Tibra companies were being established through to when the Tibra companies
were in operation,

26. ‘The second category of documents sought relates to all emails, email
attachments or Google Talk messages sent or received by any of the identified gmail]
accounts to or from any of a number of other identified email accounts between 3
November 2005 and 31 December 2009. The other identified email accounts include
alternate email accounts controlled by the relevant individual respondents and key
employees of the Tibra companies, email accounts of the other individual respondents and
email accounts of other employees of the Tibra. companies.

27. ‘This category is sought to determine whether there is any additional email or
Google Talk correspondence between the individual respondents and/or key employees of
the Tibra compantes (or certain of them) which was not discovered by the respondents and
should have been. The relevance of the time pericd is that it extends from when contain of
the individual respondents first ceased their employment with Optiver until just after the

preliminary discovery proceedings were commenced.

-~9- - DECLARATION OF JAMES LAWRENCE IN SUPPORT
OF OPTIVER'S REQUEST FOR JUDICIAL

ASSISTANCE

Case No,

 
 

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28, Finally, the third category seeks all documents, metadata, electronically
stored information, or other objects sufficient to show the date or time of deletion of any
email, email attachment or Google Talk message described in the first or second categories.
The relevance of this category is to determine whether any of the individual respondents or
key employees of the Tibra companies who controlled the identified Gmail accounts
improperly deleted any documents which should have been discovered by the respondents.

Federal Court of Australia unable to order production of this information

29, The party in possession of this information and to which the discovery
request is directed, Google, Inc., is not a party to the proceedings. Further, Google, Inc. is
located outside of Australia and, consequently, there is no procedure available to the
applicants in the proceedings under which the Federal Court of Australia could require
Google, Inc. to produce the documents and testimony sought.

30. The Federal Court of Australia is accustomed to dealing with civil discovery,
as attested by its rules concerning discovery (rules 7 and 20, Federal Court Rules 2011). At
no time has the Federal Court of Australia stated that it does not want or need the
information that the applicants seek from Google, Inc. in the proposed subpoena. On the
contrary, preliminary, interim, main and further discovery orders have been made in the
proceedings (and the preliminary discovery proceedings) as evidenced by the orders of 19
February 2009, 21 May 2010, 15 July 2011 and 14 June 2012 annexed to this declaration
and marked Exhibit 10.

Compliance with the subpoena is not unduly burdensome

31. ‘The proposed subpoena does not impose any undue burden on Googie. It
seeks information about just eight identified Gmail accounts limited to particular date

ranges, recipients and/or keywords,

«§- DECLARATION OF JAMES LAWRENCE IN SUPPORT
OF OPTEVER'S REQUEST FOR JUDICIAL

ASSISTANCE

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I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed this 9" day of October, 2012, in Sydney, A

 
  

_James Nicholas Lawrence

 

~9. DECLARATION GF JAMES LAWRENCE IN SUPPORT
OF OPTIVER'S REQUEST FOR JUDICIAL

ASSISTANCE

Case No,

 

 
 

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EXHIBIT 1
 

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Order NOT Entered

 

 

 

No: (INSD681/2009
Federal Court of Australia

District Registry: New South Wales

Division: General

OPTIVER AUSTRALIA PTY LTD and another named in the schedule
Applicant

TIBRA TRADING PTY LTD and others named in the schedule
Respondent

ORDER
JUDGE: , Justice Rares
DATE OF ORDER: 14 June 2012

WHERE MADE: Sydney

THE COURT ORDERS THAT:
1. The respondents give discovery of:
(a) the fifth respondent’s private key or keys for the PGP encryption,

(b) all documents that evidence, refer to, or tend to show that any of the substantive
steps set out in the document headed “Things to Do:” appearing behind tab 17 of
Ex JNL-18 were carried out, on or about the times specified in that document ar
within the period from 17 July to 10 October 2006,

{c} the documents that ought to have been discovered pursuant to the orders for
discovery made on 21 May 2010 and 15 July 2011, to the extent that they have not
already done so, contained on or in all relevant employees’ local drives, private
drives or C drives, at any material time, on the computer system of any one or
more of the first, second, third or fourth respondents.

2. The first, second, third and fourth respondents together or separately and each of the
individual respondents separately prepare an up to date part 3 of their respective lists
of documents that identifies each encrypted or formerly encrypted email document
and the date and circumstances in which it ceased fo be in its or his possession,
custody or power.

 

Prepared in the New South Wales District Registry, Federal Court Of Australia, Level 17, Law Courts Building, Queen's Square,
SYDNEY NSW 2000, Telephone 029230 8567.
 

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3. The respondents file and serve a verified supplementary list of documents in
accordance with orders 1 and 2 on or before 19 June 2012,

4, The respondents have liberty to apply if there are difficulties in complying with these
orders.

5. The interlocutory application stand over until 2:15 pm on 20 June 2012,

Date that entry is stamped:

Deputy District Registrar
 

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Schedule
No: (PNSD68 1/2609

Federal Court of Australia
District Registry: New South Wales

Division: General

OPTIVER AUSTRALIA PTY LTD

Second Applicant: OPTIVER TRADING PTY LTD ACN 123 177 971

Second Respondent: TIBRA CAPITAL PTY LTD ACN 120 313 160

Third Respondent: , TIBRA INVESTMENT MANAGEMENT LTD ACN
124 402 160

Fourth Respondent: TIBRA GLOBAL SERVICES PTY LTD ACN 120 338
445

Fifth Respondent: DINESH BHANDARI ~

Sixth Respondent: GLENN WILLIAMSON

Seventh Respondent: TIMOTHY BERRY

Eighth Respondent: ANDREW KING

Ninth Respondent: KINSEY COTTON

Tenth Respondent: MARTIN NICKOLAS

Eleventh Respondent: NICHOLAS BEGG
 

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EXHIBIT 2
 

 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12 Page 15 of 82

FEDERAL COURT OF AUSTRALIA

Optiver Australia Pty Ltd v Tibra Trading Pty Ltd (No 3) -

Citation:

Parties:

File number:
Judge:
Date of judgment:

Legislation:

Cases cited:

Date of hearing:
Places,
Division:
Category:

Number of paragraphs:

Counsel for the Applicants:

Solicitor for the Applicants:

12012] FCA 641

Optiver Australia Pty Ltd v Tibra Trading Pty Ltd (No 3)
j2012] FCA 641

OPTIVER AUSTRALIA PTY LTD and OPTIVER
TRADING PTY LTD ACN 123 177971 v TIBRA
TRADING PTY LTD AND OTHERS (ACCORDING
TO THE SCHEDULE)

NSD 681 of 2009

RARES J

14 June 2012 |

Federal Court Rules 1979 (Cth) O {5 r 6(1) and (2)
Federal Court Ruies 261i (Cth) r 20.1 72¥a), (b), Gc)

Form 38

British Association of Glass Bottle Manufacturers Lid y

_ Nettleford [1912] AC 709 at 714 applied

Mulley v Manifold (1959) 103 CLR 341 applied .
Optiver Pty Limited v Tibra Trading Pty Limited (No 2)
[2012] FCA 559 referred to

14 June 2012

Sydney

GENERAL DIVISION

No Catchwords

Al

Mr N C Hutley SC with Mr R P L Lancaster SC,

- Mr P W Flynn and Mr B R Kremer

King & Wood Mallesons
 

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uDo ,

Counsel for the Respondent: Mr AJ £ Bannon SC with Mr S A Lawrance
and Mr N R Murray

Solicitor for the Respondent: Freehilis
 

 

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IN THE FEDERAL COURT OF AUSTRALIA
NEW SOUTH WALES DISTRICT REGISTRY

GENERAL DIVISION NSD 681 of 2009
BETWEEN: OPTIVER AUSTRALIA PTY LTD
First Applicant
OPTIVER TRADING PTY LTD ACN 123 177 971
Second Applicant
AND: TIBRA TRADING PTY LTD AND OTHERS (ACCORDING
TO THE SCHEDULE)
Respondent
JUDGE: _ ~RARES J

‘DATE OF ORDER: 14 JUNE 2012
WHERE MADE; SYDNEY

THE COURT ORDERS THAT:

l, The respondents give discovery of:
(a) the fifth respondent’s private key or keys for the PGP encryption,

(b) all documents that evidence, refer to, or tend to show that any of the
substantive steps set out in the document headed “Things to Do:” appearing
behind tab 17 of Ex JNL-I8 were carried out, on or about the times specified
in that document or within the period from 17 July to 10 October 2006,

{c) the documents that ought to have been discovered pursuant to the orders for
discovery made on 21 May 2610 and 15 July 201 1, to the extent that they have
not already done so, contained on or in all relevant employees” local drives,
ptivate drives or C drives, at any material time, on the computer system of any

one or more of the first, second, third or fourth respondents,

2. The first, second, third and fourth respondents together or separately and each of the
individual respondents separately prepare an up to date part 3 of their respective lists

of documents that identifies each encrypted or formerly encrypted email document
 

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-2- -

and the date and circumstances in which it ceased to be in ifs or his possession,

custody or power.

3. The respondents file and serve a verified supplementary list of documents in

accordance with orders 1 and 2 on or before 19 June 2012.

4, The respondents have liberty to apply if there are difficulties in complying with these

orders.

5. The interlocutory application stand over until 2:15pm on 20 Ame 2012,

Note: Entry of orders is dealt with in Rule 39.32 of the Federal Court Rules. 2011.
 

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IN THE FEDERAL COURT OF AUSTRALIA
NEW SOUTH WALES DISTRICT REGISTRY

GENERAL DIVISION NSD 681 of 2009
BETWEEN: OPTIVER AUSTRALIA PTY LTD
First Applicant
OPTIVER TRADING PTY LTD ACN 123 177971 —
Second Applicant
AND: . TIBRA TRADING PTY LTD AND OTHERS (ACCORDING
TO THE SCHEDULE)
Respondent
JUDGE: RARES J
DATE: 14 JUNE 2012
PLACE: SYDNEY
REASONS FOR JUDGMENT

This is an interlocutory application by the applicants (Optiver) for further discovery
and, in consequence, the vacation of the current orders for hearing by referee. The referee
was due to commence hearings on his inquiry on 7 June 2012: Optiver Pty Limited v Tibra
Trading Pty Limited (No 2) [2012] FCA 559.

The circumstances of this application

Optiver complains of three deficiencies that result from the Tibra parties having very
recently ascertained a mistake made in June 2010 in the provision of a passphrase by the
eighth respondent, Andrew King. The appreciation of that mistake resulted in the parties
gaining access last week to.a number of encrypted emails that had been unreadable without

any available key, in the form of the correct passphrase, to unlock them.

One encrypted email was sent by Timothy Berry to his fellow individual respondents
Dinesh Bhandari, Glenn Williamson, Mr King, Kinsey Cotton, Martin Nickolas and Nicholas
Begg on 18 July 2006. This contained a covering email and a three page attached timeline or
working plan. The email stated: .
 

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oy.

“Ok Cats,
We are 6 weeks out and under the pump. Here is the timeline we are working off.

Things in colour at the top are individual responsibilities : blue is Bhandari, yellow is
me and sreen is misc.

If you have additions / changes to this file, email them to me and Pil update and
resend

RASK” (being a nickname for Mr Berry)

The timeline attached to the email identified overall tasks under the heading “Things
to do” and set dates for their achievement beginning on 17 July 2006, the day before the
email was sent, which it described as “-7w” ie. seven weeks before 4 September 2006. That
was the nominated date for the Tibra companies to commence trading in Australia, Hong

Kong and South Korea. The following entry was particularly relevant:

“28 August (~Iw)

Heads of Agreement to be signed

Employment contracts to be signed

IP Warranties to be signed

Shareholder certificates allocated

Erase ail emails, sent items, deleted items, Skype chats, files etc from hard drive.
Copy all existing files into new files. Fill up or blast hard drive. Destroy ail
paper correspondence. Discontinue PGP.”

(emphasis added)

A significant issue in the proceedings concerns the circumstances and forensic
consequences of the deletion of all of the Tibra source code preparatory work on or about
4 September 2006. No other material that the parties have deployed so far in the proceedings
identified a pian or timeline of the precise and relatively detailed nature as appears to be
contained in the attachment to Mr Berry's previously unreadable and encrypted email of
18 July 2006.

The recently acquired ability to read some of the encrypted emails and in particular
the timeline plan to erase electronic records and io “fill up or blast” (that is, wipes clean) hard
drives has prompted Optiver to seek further discovery orders and to apply to vacate the order

for reference. The three deficiencies in discovery complained of the Tibra parties’ failure to:

(a) provide the means to read the encrypted emails earlier;
 

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-~3-

(b} list documents destroyed in discovery lists and state when they were destroyed,

when or to whom encrypted emails were sent or by whom they were received;

(c) properly address the categories of documents ordered to be discovered in 2010
and 2011, beyond looking at and discovering what had been collected for
preliminary discovery that had been ordered against most of the Tibra parties on
19 February 2009.

Optiver initially raised a fourth issue about whether the Tibra ‘patties bad
misconceived the scope of discovery within categories 1, 3, 6 and 7 ordered by Emmett J on
15 July 2011. However the evidence of Sue Gilchrist, one of the Tibra parties’ solicitors, has
shown that this misconception has now been remedied and the further relevant documents

have been provided to Optiver.

Background

The Tidra partics had not been able to give discovery of the encrypted emails in a
meaningful way beyond a listing of them and, to the extent that they revealed these, the
sending and receiving parties, dates and any subject line. Without access to the means of
reading the content-of those emails no one could be certain of who all the addresses of any
particular email were and, more importantly, its content. Thus, a discovery list recording
documents that were last in the control of each of the Tibra parties could not be prepared as
required by r 20.17(2){a}, (b), (3)(c} and Pt 3 in Form 38 of the Federal Court Rules 2011
(Cth) in a way that specifically indicated whether any particular document had been received
by any individual respondent who was not named in its heading or address line and when he

a

last had that document,

Under the now repealed O 15 r 6(1) and (2) of the Federal Court Rules 1979 (Cth)
(see now t 20.17(2){b)) a list of documents in the old Form 22 (sce now Form 38) had to
enumerate the documents that were or had been in the possession, custody or power of the
party making the list. Schedule 2 of Form 22 (see now Pt 3 of Form 38) had to enumerate
those documents that the party had had, but no longer had, in his or her or its possession,
custody or power. The deponent of the list had to set out in the affidavit verifying it when
each document in Sch 2 of Form 22 (see now Pt 3 of Form 38) had last been in the party’s
possession, custedy or power, what had become of the document and, to the best of the

deponent’s knowledge, information and belief in whose possession, custody or power the .
 

 

 

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document then was and where it was (see paras 3 and 4 of the affidavit in Form 22; see now

para 6 of the affidavit in Form 38).

That situation changed on 6 June 2012 when the Tibra parties provided the passphrase
of Mr King to Optiver. The Tibra parties explained that Mr King had given his passphrase to
Tibra’s then in-house counsel, Justin Chau, in mid 2010 but for one reason or another Mr
Chau either did not correctly transcribe it or Mr King failed to perceive that this had not
happened. As a result, no one was able to access Mr King’s encrypted emails on either his
own personal computer or any other version of them that remained in existence. His
computer was the only personal computer of the individual Tibra parties who are respondents
that remained in existence and was available for discovery and forensic examination
purposes. The other personal computers and laptops of the various individual Tibra parties
were destroyed or wiped clean of their data at various times prior to the preliminary
discovery that was ordered by Tarriberlin J on 19 February 2009. Optiver secks to link this
absence of contemporary records ta the entry for 28 August 2006 in the “Things to do”

timeline.

As soon as the Tibra parties’ solicitors had sent Mr King’s passphrase to Optiver’s
solicitors on 6 June 2012, one of Optiver’s computer experts used it to retrieve the encrypted
email sent by Mr Berry on 18 July 2006 that T have described above. As originally
discovered before decryption, this email appeared to have only been sent by Mr Berry to
himself at another email address of his own. Thus, as discovered, the email had no other
addressees or subject line and revealed that it included one encrypted attachment namcd “The
Cool Cats: PGP”. That attachment was the timeline document to which I have referred. The
acronym “PGP” stands for “pretty good privacy”. This is a form of encryption used to

transmit emails in unsecured environments such as through publicly accessible means such as

pmail or Bigpond internet accounts, as this particular email was sent.

Steps taken by the Tibra parties to give discovery

In consequence of the application by Optiver on 7 June 2012, the day before the
referee was to commence the inquiry, 1 directed that evidence and submissions be prepared so
that I could hear this application urgently. In those urgent circumstances the Tibra parties
prepared and filed affidavits by each of the individual Tibra parties as well as by Ms Gilchrist

and Paul James, who was the director and head of [fT Operations Asia of Tibra. Mr James
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had been responsible within Tibra’s organisation for overseeing the collection of documents
by the four corporate Tibra respondents to give preliminary discovery in accordance with the

orders in February 2009,

Mr James said, in paragraphs 2, 3, 7 and 8 of his affidavit of 12 June 2012:

“2, owas the Tibra employee responsible for oversecing the collection of
documents in order for the four corporate respondents to give preliminary
discovery in accordance with the orders made by Justice Tamberlin in 2009.
As part of that process, I, and others under my supervision, collected the
following documents:

(a) the hard-copy documents held at Tibra's offices by Mr Berry, Mr
Bhandari, Mr Williamson, Mr King, Mr Cotton, Mr Nickolas and Mr

Begg;
{b) the electronic documents stored on Tibra's shared drives:

(o} the emails stored on Tibra's server for each of Mr Berry, Mr
Bhandari, Mr King, Mr Cotton, Mr Nickolas and Mr Begg;

{d) emails provided to me by Mr Williamson including emails stored on
Tibra’s server;

fe) emails provided to me by any of Mr Berry, Mr Bhandari, Mr
Williamson, Mr King and Mr Cotton from their personal cmail
accounts,

(8) chat logs stored on Tibra's system,

(z) Tibra's “wiki" (that is, an internal website that could be viewed,
added to or modified by Tibra staff);

th) Tibra's trac-ticketing systems (that is, the systems used at Tibra for
creating and tracking internal software development and other
technical issues).

3, Apart from source code, as far as I am aware, the sources of documents
referred to in paragraph 2 above are the only sources of documents held
by the corporate respondents that could centain discoverable documents
{either discoverable on preliminary discovery or discoverable in these
proceedings). I reviewed the documents referred to in paragraph 2 above,
other than Mr Williamson’s emails which I understood had already been
reviewed by him, for the purposes ef providing them to McCabe Tenill, who
were Tibra's lawyers at that stage, for the purposes of discovery.

Te In order for the corporate respondents to give discovery in these
proceedings, [ provided Freehills with a complete copy of everything that
{ had collected for the purpose of preliminary discovery and had
previously given to McCabe Terrill. I believed (and still believe} that any
document held by the corporate respondents and discoverable under the
orders made in 2010 ar 2011 was collected in the searches that I and
others undertook for the purpose of providing McCabe Terrill with
documents for preliminary discovery. However, for the purposes of the
discovery in 2010, I did arrange for some additional searches to be made.

 

 
 

 

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8. At the time that I swore the 2010 affidavits of discovery for the corporate
respondents, I was aware thal the list of documents prepared by Freehiils
included (as a document no longer held) the source code repository that Mr
King had deleted in September or October 2006. That was the only

particular document that I was aware of that fell within the discovery
categories and which the respondents ne longer held.” (emphasis added)

Mr James was briefly cross-examined, principally, about the statement in the last
sentence of paragraph 7 that he had arranged for some additional searches to be made for the
purposes of preparing discovery in 2010. He identified that those additional searches related
to Mr King and Mr Cotton. He was not cross-examined as to what had been done or not done

in the course of the discovery exercises described in his affidavit.

Mr Bhandari said that at the time Tibra moved into its Bondi Junction office premises
around 4 September 2006 he deliberately transferred to a Tibra server all the emails and other
electronic documents on his personal laptop that were related to the Tibra business. It
appears that this data was the principal source of the encrypted emails that came to be
discovered. This inchided his private key for the PGP software which was one of iwo
esscatial integers, the other being a passphrase, to unlock an encrypted email. Mr Bhandari
believed that he could have opened the encrypted emaiis using his passphrase until some time
in 2007, when he believed that the private key was lost as a result of an upgrade to his work

computer.

There is no evidence that any search has yet been made for that private key on Tibra’s
computer system beyond what Mr Bhandari said he belicved had happened to it. However
another respondent, Mr Nickolas, gave evidence that Tibra’s mail servers and shared drives,
on which electronic documents were stored, are backed up and archived for some
considerable period of time. He said that copies of deleted emails and documents could be

restored from those backup and archive sources if required.

Mr Williamson denied deleting anything on the basis of the “Things to do” timeline
document. Although he did not recollect the document, he said that he was “paranoid about
Optiver trying to get information about what we were doing”. He said he deleted all the data
on his desktop computer that he had at home after copying all of the unspecified files he
needed onto a USB stick and transferring those to his laptop. When his laptop began
breaking down in early 2008, he copied any files he still needed onto USB sticks and

transferred this data to his new laptop. He said that after the move into Tibra’s Bondi
 

 

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Junction offices, he usually shredded hard copy documents that he no longer needed. Mr
Williamson provided Mr James or the Tibra parties’ solicitors, Freehiils, with “all documents
that f hold that could in my view possibly fall [within the orders for discovery made in 2010
and 2011].” He was not aware of any other place where documents that he no longer held on
his own could have been kept. He had.-disposed of his old desktop and laptops. He said that
he had kept his PGP private key on his home desktop computer, but no longer had this and

accordingly could not access that material.

Mr Berry, who was the author of the “Things to do” timeline, said that he transferred
everything he needed for Tibra’s business from his personal computer to the Tibra network
when it was established and deleted or shredded, if in hard copy, the balance. He said that he
complied with the preliminary discovery orders, in essence, by leaving it to Mr James to
collect documents from his and the Tibra corporate respondents’ work computers. Again it is
not clear from the affidavit material whether any check was made of backups or archive

material that Mr Berry had deleted from his Tibra system emails or files.

Mr King said that he left 1¢ for to Mr James to search on Tibra’s system for anything
that he had to discover from it.

Mr Cotton said that he did not transfer any data or files to the Tibra system from his

own personal computers, but had deleted all his encrypted emails from his G-mail account.

Mr Nickolas, who was not a party to the preliminary discovery proceedings, said that

he relied on Mr James to provide all his emails and electronic documents in Tibra’s system

for discovery.

Mr Begg was responsible for setting up Tibra’s internal email system and
implementing it when the move to the Bondi Junction office occurred. From about late
August 2006, he stopped using the encrypted communications and started using a Tibra email
account for work-related emails. He said that he ultimately deleted the encrypted emails
from his personal laptop in late 2006 or early 2007 and never copied them on to Tibra’s
system. He gave his laptop away. He, also, was not a respondent to the preliminary
discovery proceedings. When asked to do so, Mr Begg had checked his current laptop and G-

mail account for oid Tibra work materials and was unable to locate any.
 

 

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The Tibra parties compliance with the orders for preliminary discovery and discovery
in these proceedings

On 19 February 2009, Tamberlin J made orders in the preliminary discovery
proceedings requiring all of the then Tibra party respondents (i.e. excluding Mr Nickolas and
Mr Begg) to give verified discovery of documents relating fo programs, source and object
codes that were in their possession, custody or power including “all versions thereof (whether
current, archived, deleted or otherwisc)’. Mr James addressed that discovery obligation with
respect to the particular identified categories of documents in the way he described in
paragraph 2 of his affidavit that I have set out above. Their lists of documents swom or
affirmed on 19 March 2009. Each of the then individual Tibra party respondents said in
Sch 2 of Form 22 that he had had no documents that were no longer in his possession, but

were in the possession of others.

As a result of a complaint by Optiver’s solicitors, each of the then Tibra parties made
a supplementary list of documents on about 9 April 2009 setting out, in a new Sch 2, the
documents they no ionger had in their possession but ance had. Those listings dealt with
documents that each of the individuals had while, or as a consequence of being, an employee
of Optiver, but did not refer to any documents that he had created and no longer had while
working in the establishment of the Tibra party’s operations. This led to a further query on
23 April 2009 by the solicitors for Optiver as to whether the preliminary discovery had
extended to documents worked on or created by a number of other persons including the
software developers, Mr Begg and Mr Nickolas, together with Timothy Muirhead and James
Tydeman. In addition Optiver’s solicitors noted that the lists of documents did not identify
any back up tapes or material backed up in the ordinary course of business. They observed
that “while it is plausible that this material may have been deleted in a rotating manner as is
usual practice”, no such siep had been identified in the lists of documents and no back up data
tapes had been made available, that included documents or information pursuant to the Tibra
parties’ preliminary discovery obligations in the order dealing with programs, source and

object codes.

On 22 May 2009 the Tibra parties’ then solicitors, McCabe Terrill, replied. They said
that each of the four identified developers had produced all developer notes and files in his
possession, custody or power as required by the orders and drew attention to parts of the

discovery in which that material was contained. McCabe Terrill also said that, in producing
 

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the discovery, their clients had reviewed backup data tapes, where available, and that
documents contained in those tapes that fell within the preliminary discovery orders had been

produced.

Optiver commenced these proceedings later in 2009. On 21 May 2010 Emmett J
ordered that a number of categories of further documents be discovered. When giving
discovery in respect of these orders the Tibra parties set out the following description in Sch
2 of their lists of documents:

“9. All other business records (including emails) falling within the categories

attached and marked ‘Annexure A’ which in the ordinary course of business had
been deleted, Jost or destroyed or the contents of which are no longer accessible.”

(emphasis added)

The emphasised phrase appears to have been a reference to the encrypted emails.

Next, on 15 July 2011 Emmett] ordered that the Tibra parties give discovery of further

. additional categories of documents. In late October 2011, after the Federal Court Rules 2011

(Cth) bad come into effect, the Tibra parties provided their next lists of documents in
compliance with the orders made on 15 July 2011. These new lists disclosed in Pt3 of
Form 38 (that corresponded substantially to the oid Sch 2 of Form 22) that the Tibra parties
no longer had possession custody or control of:

“4. All other business records (including emails} which in the ordinary course of

business had been deleted, lost or destroyed or contents of which are no longer
accessible.” '

The parties’ submissions

Optiver argued that Mr James’ affidavit of 12 June 2012 showed that, after collecting
the documents for the purposes of preliminary discovery, he gave no separate consideration
to addressing the particular new categories ordered to be discovered by Emmet J in 2010 and
2011. It contended that the categories of documents required to be produced for preliminary
discovery were much narrower than the sum of both later sets of categories. Optiver argued
that preliminary discovery had been directed towards the source code, object code and
development documents for the Tibra programs and such documents of Optiver as the
respondents to that application held in respect of corresponding Optiver codes and
documents. Optiver submitted that once these proceedings commenced, the issues were

defined in the pleadings and it was common ground that the issues now concerned aflegations
 

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against the Tibra parties of breaches of contract, breaches of fiduciary duty, knowing
involvement or participation in breaches of fiduciary duty by others, use of confidential

information and infringement of copyright.

Optiver argued that Mr James’ affidavit showed that he failed to check the Tibra
system or premises for any electronic or hard copy of documents held by any Tibra employee
who was not a personal respondent, including documents of Mr Tydeman and Mr Muirhead
and two others, namely Mr Norwood and Mr Maddock, who were employees of one of the
Tibra companies and addressees of a number of encrypted emails. Optiver contended that Mr
James’ affidavit showed that he had failed to collect documents from any personal email
accounts belonging to anyonc other than Messrs Bhandari, Williamson, Berry, King and
Cotion. It argued that Mr James had not collected emails in the personal accounts of Messrs
Begg or Nickolas or those of Messrs Tydeman, Muirhead, Norwood or Maddock. Optiver
contended that Mr James had also failed to check Mr Wiltiamson’s self-review of the emails
that Mr Williamson provided him or io collect documents from Tibra’s computer system
beyond the shared drives and servers. That is, Optiver complained Mr James did not check
the local drives, private drives or C drives of the relevant employees. It also argued that he
did not investigate, obtain or collect documents from backups or archive files referred to by
Mr Nickolas. Moreover, Optiver argued that the Tibra parties’ discovery had not thrown up
any documents relating to the implementation of what Optiver characterised as the plan

revealed in the “Things to do” timeline.

The Tibra parties argued that Mr James’ affidavit had not been prepared for the
purposes of dealing with the adequacy of their discovery generally. Rather, they said it was
prepared as a response to Optiver’s argument that the recent revelation of the contents of
previously encrypted emails called into question whether further orders for discovery were
necessary or would produce more material. They said that Mr James’ role in 2009 had been
to coliect all the material he set out in paragraph 2 of his affidavit and that this role was not,
at the time of its collection, limited in any way to the categories for preliminary discovery.
They also pointed to the disclosure in their lists of documents and the letter from McCabe
Temill dated 22 May 2009 dealing with the extent to which their discovery had been

undertaken, including in respect of backup and archived material.
 

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The Tibra parties argued that Mr James’ collection of, in effect, a library allowed their
solicitors to select from that material what was discoverable, first, for the preliminary
discovery and, secondly, pursuant to the categories ordered on 21 May 2010 and 15 July
20Lt. They pointed out that on each occasion further documents had been discovered by
them from the materials or library initially collected by Mr James. The Tibra parties
submitted that this demonstrated that he had cast his net as wide as possible for any |
documents that any of the relevant persons had created, whether relevant or not to the
possible or later litigation. The Tibra parties also noted that their discovery in these
proceedings included files and documents created or received by other Tibra employees

outside those identified in paragraph 2 of Mr James’ affidavit, again showing that he had

diligently collected a comprehensive library.

Consideration

The ptinciples on which further discovery can be ordered have long been settled. In
British Association of Glass Bottle Manufacturers Lid vy Netileford [1912] AC 709 at 714
Viscount Haldane LC said that it was possible to go behind the conclusive nature of an
affidavit of documents where the basis on which that affidavit had been made turns out to be
wrong. As Menzies] observed in Mulley v Manifold (1959) 103 CLR 341 at 343 the
insufficiency of an affidavit of documents can be shown to appear:

“not only from the documents but also. from any other source that constituted an

admission of the existence of a discoverable document. Furthermore, it is not

necessary to infer ihe existence of a particular document; it is sufficient if it appears

that a party has excluded documents under a misconception of the case. Beyond this,
the affidavit of discovery is conclusive.”

The present application was generated by the recent discovery of an error in Mr
King’s identification of or the transcription by him of his passphrase. The affidavits that the
Tibra parties prepared for this application were directed particularly to the issue of the
encrypted emails and the adequacy of discovery in relation to them. It is easy, with the
benefit of hindsight, to see that the particular step of checking in the backup or archive
material for Mr Bhandari’s private key should have been addressed specifically in that
material. The Tibra parties conceded that, whether they had looked for that private key
previously or not, they would undertake a fresh search for this in light of what has happened.
That is a perfectly proper course. However, the absence of evidence that this step had been

taken earlier allows the drawing of the inference that it had been overlooked.
 

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I have some sympathy with the argument put by the Tibra parties that Mr James’
affidavit was not directed to the general adequacy of their discovery, However, I think that a
fair reading of his affidavit suggests that he was attempting to be as comprehensive as he
could, in the limited time available, about what steps he had undertaken in obtaining
documents. In that context, it does appear that he did not check the Tibra computer system
for electronic documents held by employees who are not personal respondents, except so far
as documents may have been provided in respect of developer notes and files that Messrs
Muirhead, Tydeman, Begg and Nickolas were required to produce for the purposes of the

preliminary discovery orders.

It does not appear that Mr James checked, in the Tibra system, the local private or
C drives of any of the personal respondents save fo the extent that they may have revealed
emails ftom their personal email accounts. I am not satisfied that Mr James was required to
go beyond those individuals’ personal email accounts for the purposes of their own

compliance with the orders.

The failure of the Tibra parties to list the individual encrypted emails that any of them
subsequently ceased to have in his or their possession, custody or power, and to specify the
circumstances precisely in which that happened, was understandable at the time that
discovery was given and before last week. Because some of those documents could be read
for the first time only last week in the context of the litigation, there should now be proper
discovery in relation to what has now become available to be read. This is important given
the centrality io the issues in the proceedings of the role of each of the individuals who are
respondents. If Mr Bhandari’s private key can be located and if it gives access to more

relevant material, that can also be included in the supplementary lists.

lt is fairly clear from the pleadings and the issues that have been agitated while I have
been managing the proceedings, that Optiver alleges that from about mid-2006 the personal
respondents went about a plan to set up the corporate Tibra parties’ businesses. The
encrypted emails may or may not contain other material relating to any particular
documentation of any such plan. However, the “Things to do” document attached to Mr
Berry’s email of 18 Inly 2006, appears to reveal that some detailed consideration had been
given as to how various persons would participate in establishing the new business. It

specifically provided for the deletion of, relevantly, emails, sent items, deleted items, Skype
 

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chats, files and the like from individuals” computer hard drives, required them to copy all
existing files into new files, and then to wipe clean all the personal hard drives of individual

employees including those who are Tibra party respondents.

While the Tibra parties argued that the “Things to do” document’s requirement to
copy existing files into new files negated any adverse inferences that might be drawn from
any plan to erase the other material, it is not clear that this would necessarily be so. The
various individual respondents, other than Mr Bhandari, seem to have arrived at a position by
one route or another that they no longer have those items or data in their possession, custody
or power. Mr Bhandari, on the other hand, copied ali of his material onto the Tibra system,
even though the encrypted emails have been completely unreadable until recently, and even

now only some have been deciphered.

| am satisfied that Optiver is entitled to explore, in discovery and the preparation of its
case, these materials that have only recently become available to be looked at by them,
through no fault of their own. They are also entitled to consider the issucs that these

materials raise.

The Tibra parties have said that by 19 June 2012 they will be in a position to have
undertaken the search for Mr Bhandari’s private key and will provide proper listings of
documents in Pt3 of their supplementary lists of documents, and presumably, proper
discovery of all encrypted emails that can now be disclosed in such lists of documents. It
should be possible for them to explore the other deficiencies that I have identified in their
discovery by then, but I will hear them on that question.

Once that supplementary discovery exercise has been completed, it will be possible to
assess whether further documents have come to light, and what the impact of these will be on

the conduct of the litigation. I will hear the parties about that matter on 20 June 2012,

I certify that the preceding forth-one
{41} numbered paragraph are a true
copy of the Reasons for Judgment
herein of the Honourable Justice Rares.

Associate:
Dated: 28 June 2012
 

 

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SCHEDULE

NSD 681 of 2009
TIBRA TRADING PTY LTD
First Respondent

TIBRA CAPITAL PTY LTD ACN 120 313 160
Second Respondent

TIBRA INVESTMENT MANAGEMENT LTD ACN 124 402 160
Third Respondent

TIBRA GLOBAL SERVICES PTY LTD ACN 120 338 445
- Fourth Respondent

BINESH BHANDARI
Fifth Respondent

GLENN WILLIAMSON

Sixth Respondent

TIMOTHY BERRY
Seventh Respondent

ANDREW KING
Eighth Respondent

KINSEY COTTON
Ninth Respondent

MARTIN NICKOLAS
Tenth Respondent

NICHOLAS BEGG
Eleventh Respondent
 

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EXHIBIT 3
 

 

 

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From: Danny Bhandari

Date Sant Monday, 07 August 2006 14:73:38

Date Recalved: Monday, OF August 2006 11:13:38

To: Campbell Norwood: christianking81@gmail.carn; rochif@gmail.com: raskaz? @gmail.com
cc;

BCG:

Subject RE: Admin

No of Attachments: 0

Attachment Name: None

 

~—BEGIN PGP MESSAGE-—
Version: PSP Desktop 9.0.6 (Build 6060) - not ficensed for commercial use:

wy. pgp.com

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dQ6CXHtGakOgxcTHpenepAZwLSHILPxiStOHPvO4dnwis yrMASM9O+ is4jaxQdF+
OMI+pogn3+mxogwynGfurCidBafEVvURSwTwslkaWeQT AFRUYAUOULIDIHA2Qowd
siBC4zqgWDokrtCdnrgh 3/6PKGQuIU IRM+JPnk/p3OeN3S0YweBMA/VR2XHOQBatS
AOHOSS6CWiDsNava00lwi qTh7JIP7wLPCnVyOxMvdS+9Z2FhqRqExG2xxoMtrwd
amCéAyw+PIHJ7ezGRPB Tadd YDCOT4ISicgiawY21F gSKOoxpKiCHOEsinohOsX
iXzdéh¥jZkGgid6?zarNE¥ze8a0GhimRDuss2PRCKHedl¥uxTamZG5iOR0eSKAG
7ROdgBaal4K4tailhGTaSxQikxiMul QWnVdCOHxNiiFOkebo4xswip ManUggamGo2N
xHg8VWUPSU2C27R3SZE14V4OveRe+BaBolbnednuuweq8gaxHBYZURETT J8B6r
ElrWFOHb+++kvxXvi0YIg2IObrsHBTgNUoFgKGJOXWhAHIAsVF2iFGWO00ZYORpNI
dyoY¥iLoakFtbaSaZloflus/A2VspdlS3MNolapOfey ldmSFByY gKVAjH OXmIFésS
uCrSMLysqf6wsQk8KzX+VaRicUmreWhPkKxhb TyFzeSpi2pe+9Ogt/wDCBy201V
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hOnjYiqh 7rOKNhGysxq2cTSS2Pzd4GRrK6TS inéwZd4EzUybsP522tE/mus00nLo
NFyYYO8GXIS22d8BNnPDyT jaVvisOrqXCigva0WXSOISHHJEleddHD¢nEcSm/R+T
sXj1FESBh7x1 FmhkAMHZjEGOMSWKOLGYNStOleGy Tet kquUiS7figJ+CxUwpQau
CONy i cigyOV Tq JondTuziwD+0+22M6+xtaWag4/8DHsSluMS+0t TefoXiL7quwhu
iHhfix4xX iv2bFyXD480GboiXkqDBwEwDyRbvpxPm6HcBB/Gep4OkPKiEOSE4cqEF
cittz+Y SqofEnbEPhb7/Z20A27 ysl ov4nDGFwx0d/MJ2bFsisdSBexuphGQw71HSu)
ze2Y¥nmliPkK3MDbInA4LT Thh1 PdaNnitStFeLbwM7REKGADsIbIYLS HL50RpdiSw53
Vin? cl3Sz6ucJGWVROdPyxHIWS DoyxRMBIOXHbho YUPSsPq423Y +7 WifpWeqjrU
4Kiclvakd 3G8Hadi2JWFRPeSUaRZalid MiNWeelkSVakziotktginheCPDbOKGS
rS2xpQJ0zzqZnr2eZkySVxwN-+gHihKXW4vWéwGBkwC/hi/D i fyiNuGao4 PERU
MK64weBMA3a0LZZcVikKIAGHYKSOOAV ysleoOdPqiot 7jonIPSAFYo0egH3AD U0e
CgDHL7beL KpLPxiZObnsaxteVgAbW4JIZ0SCOC4 GwHtSeximidscHsivwveiexht
rerClo/y2BejyGSaPDiviiblt kxqi SBwOoHBVzCzs2RJSSWJNUVZM4Y 2QyOP2+K
tiLyJqMaupjnnS¢splmCv728TyztSfDwObXIKiopUKVk7 3FKM++4hicCGxuSSVTM
ReeJPrGNgi0KWGNWIINefatzhlDeQwRsdohmWafST Byu7P6Sal4POESpONMhiroz
WRJySTxbePQy 1 myxGd4 ptF5+42R T5GibzBuhOPO/GU4qHsHATANSodwDeRSESGgEH
{SEB 2LtsXyOxd LV Viu+ Otk6BX7i85SboRBVB 1 lShhygZzZ/avarm07 Gh2AMGMpJd
OriLNOu6plaNJFaqqc?eFP7yNFBOVpDriEBived 3 JifalpkMio1xEZfLoW?rBOMo
Zhiy2bNRUAIO1BKEAJpizOWWGCDROOOeqtr7HNIDZTAORSxZc1 Xi kWoNLbb
MDYqVDbGJpAIZctEgifVV1 pRRmfybtyYvt1 AQOPGDpSTL1OCGviEBACraye YUOpP
uzGkvtokatZiiB4cY DOA1RovDkOrHngXBEdOP46hxO0zSczH3m/UZm0rEOUmz08J
Sz0404EU/Y Y4PBKeEM]+al3BwEwDnD2sUowHkIQBCACazishR+AAOAlyeAllzix
imteyKRFsMjoVs2FWOIUZGF J+rNRAxQURNGeTVMoc?wrzsyNaibSS305d7kAsMer
hiWinsed4iaréxAhsmGkhDS+y 91 oV/PZbSDt6xXxC 4jSnLakiNOAZsOySpPmrkRV

TI5.158,001 0157
 

 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12.

SHlirxPLpi+AcKypnaldgigSgFwR7Y JRy3ir& 17e/c2UCD 1 nslyRpgBXsteLFig
DUAsmxi2KRIDQWApxzmLSx0zXub05 GlimhlMyeSxm7qqaFORLyVaT yNeSHBk3I20
swujQIHMGsy7FCFnGvh6HsSpLwTW4i0awésplogaSiono Yab Vilsk2bdsQObut+é
WeBMA3RI4oF q62E2AQMHAmMpREND1SIEVTsiWoxhJg TWegBAZnObZHXSnYZEKIAT
ANOLMOHBpPBdRtx+Ir7SREYNFHIZENHGN O/T +ZFILPZ+n3pxxDBGTohmprk
PBYMG9/gJ4kZ05 1o8py2OcLJ4iUVSyJoAoRY EXpUbfehpgRiGdiimAiCHiNJs&G4
ZoQquulgC1olbaCQjiQr2 K3HH8n2EeZ8LcAKFJeEBMPSO7S00FVQAw7dl \FULEO
enmDWyLPO4plIMPHBOr1SZBo1qqFeAAB2YQN|NEgGSGuSDzCxMJpizPr2c00 Yt
Cp30)02USaNB2RkKSV i pELABceJbOVichdRN/h2e2d| BwwGsdMZ94 VOLHemNHJOE
nfAjleOf+ig1 2bfmMS2JU1ZAIRGT PisJFKDYNxMSbVAIF3TRCRROWwSDSPLeMiLa :
DwyhdajlfWroPFHWUWamnkk&k RASrveJ9NeS! tDremyiAjZon TwESelifLGHONH8
ZimKJIWXZdF gicAhBjRGNoh7 Zim Yulu/nDwl4 fSvLoWwa70ZRmZfAZRqhDoLyaBx
2Nc7SWVNiqLEB)4vjQoXsAdQHkkGxOkkcVAMIUWDVDNF FcipMaGJTH +cTRKRI
S9mHLKkwq4RY/KsOxTycEyXSAVOMusoT ZokpL?BNGGdL T4/ XY CJbIRUSFSGOdW
ANaSoaZEbhpDir87Ssba/g2siN2 T0641 4FhpSCq1 X0chgycFJPixyPInAPESsm6

JbOY p0dha4V2zHVVWrB8Umdem0dh/4NEecdjoxigmus YMwSLiemdsUxzmdGmsgP -
SéigNfkidkKM4hmsHBnihEF ExpnjovkKpsBU/3ktScYSzhFigkIPnUOK fvEmfi0 TDS

ShreaC ExokzdFg4Q7TG To4PTHRxCbeWV5VVEngNsslB+S9FY SfexxotFidvtByiHvl
MAZSudyy2bDsDy2+PPmaljQwBlAviawC/k8B4jJLJud LY8yMayAstM6r4 JHLVOAS
iIC+2QES5SWSAe6YBS7plhCshFbgg IPTV 7rLOUMSEJkyZ72OmbttcSNLpASwSn0p8
yk+¥ nRKpM82aLEétoJ4+mtvTq12Zyrey] zdhBFxOPB K6VDNZen2kKis YavOadVOUI
leckTOuUXDOXrTIMba4H/MiJeXOKgS5w 7yLihknryl6+ansvang5e7 Bok YF Vek
Jz63klc=

=06G6J

--—-END PGP MESSAGE—-

Page 35 of 82
TIB.158.001.0158
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12,

From: Campbell Norwood

Date Sent Wednesday, 31 May 2006 12:56:37

Date Recelved: Wednesday, 31 May 2006 12:56:37
Ta: Glenn Willlamsen; campbelilnonvaod@gmail.com
CC; Christian King; Danny Bhandari; Tim Bery
Bcc:

Subject: Re: Ramdons

No of Attachments; 0

Attachment Name: None

 

— BEGIN PGP MESSAGE-—~
Verslan: PGP Desktop 9.0.5 (Build 6060) - net licensed for commercial
USG! WWW.pgp.cam

qGANQR1DBwEwDnb2s Vow HklOQBCADMA HPyVTQRuLidhutQly GTXLqViAzQcCg74Ca
ySHFnY GiZoQStscQ7 Sxiv4 YWIAKURT amtlSuarbOpSPG+oVLiPJeq7eCsGzd4kay
okMus2zvOWNIDC7EMpEaBEO4LW1IFVhPSAdiSBODj7e 1 OWKgdlnEuew8WOaz0OCss
XOzwAciLiPbWPupmiSNSMZoupnyJ6ABanBZDGzzeA TggjkiociKLARphp7awn2  -
byyezT2Etl7OgEsqn4Vak2dbvsQZozMmVAjmoRiceaXCS3i ViuzudmdxXetcdf
AXBLSHSARDJofY QoDr2i+ej5L FowvUzwK7pUSVLIGEhraNxweBMAgkWeVzaunha
AGW JBOrOomRhgDUeP7DApclaziDPBSqsk6Hiwroaldiaga/YR2ieV26wZeOwt
QaPkdiZGWPiBz4LxmrovpiB9]+Oqd20Ee04NiGwogF KGrqDudkSxPNg+pakL
andilEvnDvsTMY YnSelloawe64ikgq4ak TaMQO02Au IgbhyOhoiNgdMiZigRDgIGa
INIKVIRORICCOXSISYFclOTIEOmyisVAnOW+1xSOO tae inwuybHaetta7 ZR
SvmOdAV4TRxGohfBDCDsgdOsnGg+iVemilPsYtOdMyabs9ZpG9H2fUSPUGIATKOX
jYEFOVSQxEGonkTsJIMMZpqi8RMHATANCSOK BauthNgEH SjdFwSAsthViECGuDoW
DGeg2xXhAefwSVvpvD2Yxs/795S3SNriv4 Tom2WsE SUUSPY GrorF6SH1 SplAdiAKx
XqTA4gGY og2hOtsGarz2V6HzHSD]eswWwukUSkzi8BvVimniBjJHRiBeOxObTxVy2
VEYS+DoChiGbL + fjputooQJW3US7 qf+lllaGitéqQLXowgSXS2mYbSetn9bSser

BSP GLFNGsQMp7SohubaGCxodo4 djeFeHxtsChUnTlOhxLiihZywt+NaLsrEwRExb9
8BenGMrdvixdi2in XDrAl4sl¥ UsiqkK YJOVS ¥feprox4 bzdn3 OAagcE4aRmemb
SAJBWEwDdrQillx¥+TSBB/wMAbMtypaPGOx8KsogZOrc+GiXCUQiaAsC249xul MNC
99hevzOrlsKQgQyaQ7KsXM1 Wiz ltykKJdA7hpphynVao//DtSceAhhy? +hACxWil
UbStlUbiSS0Y Gut XyiP tmxi7 ¥++manyd2vPNqigEX6gpLyvPGBocHFxaGT+SUuSRin
bTGr69GADBXeRWI0GhqWZdd9UuBxCkdVBL TAROBDYPSmoXal Cyc3yhNnXdePu+do
UINPSaFCVcOt Tw495GsJOXKpSxRObAQJIFTREsS4GApGzWwT7 10Zu4bTOFfUwepkx
QO2UGGS03KIDN/Faxb7Edio7 Ssc6hDoSFWmurSzdaZzweoBMA1 Ky ANSHkQaAOTS
GANYgBOuMhUbdM4aEo7JYaWnRgSbyDaSROwT TNO mBWWwatBQw2qcASKdwrM ar
BcSWJL/OvgxDIONINmAjVixwi0 fgeEHhdQMSpmOn4TsTSofd+S2yWD t5igtpz
J5ONgKauALQuwledNixvhi ToSR2eyded4akdghiy+E3xrWP+raBXCHb30+dBPHqJO4
nwG6o02VJdEmagswTUZM27 3607 UE VHOewyUAWOGSIWOTFQORKZKLpihBYsn/D
XEw2lWPSAS6SA+3BwmisbRxgDbpblecWrsld4m2Goswt 0 i cMpjSO8OUict+bDLOw
KIFIOWZgw7 U+/Ryi0YFOnSLG fwGZkQizg3BXQSsASAISWeJP/KsQoq/uBcbDoAtny
mCULYJT1 BHU Y¥MOrb/nAVyFULCOaSyvuDDqHbhxiGdt yeU VbiNONPMJ6A8z87R907
2dWSpopsBrPTSJ62RAcgGOSiddzgbnoPnibLgWoHHusDrmlgnqCgt TphiaSHbeS
4533veBhT7SmgQQghSpZRusS2HEWP movi7QwYxUxXinGaGwexrKa7/2qliERBOg
s7QeDbHeOnMSfUS3F7Z2eNHF SqCWDGPHSuTWeoFMBSkrxNB7LOJPYSsPESSY4NOzvz
Nor7eTGko7eSHWeiSY4MRew2rok2iRvkscbO1 dxpGUIKGooWaxBn SUSCus Yuk
Hiflbi7?gbQb TkIMOFiscxHzKviIBnlUgn7inBhiiP7u8sbximsLswhoF 1ZEVeMco2
VinkkKeWL T/xhk]+G TAzySAcKE/OSM/vu+2EMOKIYRLO+xehWhjMQsIDUqHP/VowR
DZxgBHhShGHSai ex0YVigkTgwP/FJZoW26T VY pFdy7kptUofh7FaDCIES+TqVH
oy iZhajsXzPPOz7h1 Ov7RPOCLAqsmiUZmgAsslSajuZBmDC3VUN0aVY 4PSt2A,
a4SOxlIHBCoRseSZpLCbDnhSyBAXsuGAViscuFsGStiZrmJS6QDcbu3gPWLSODHVHS
Rh2L7CJ4G JONSwPBurkKKtFOO38hhULmiqUWkYavshyOVpigindkRVIPJQDSFsops
dz9LYi1EZAknmDkpmGb26+nacyOyevMovii avr3SAShFGOpy 1 ORI7NRUPWRZ2x+
NdhpBHGOwpQ0edzSgPSBXXrFkKLDuXwJIHZVIC4 gn OiP7HWwEZUiCTMwCivndAad

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TIB.158.051 0438
 

 

 

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vqdkUidRdUpSNGhezO3uc04ubMpulAACYKSBn 7fOD Lidwij? dVVTYBzihBKxpi
hvRewAVolaFYGNsF YIPAUFOYHROBJDOROKPmCOma3rYs4UT Fatzkmzfevil J7D
WBFBs63/GmS84/FTGMOSbbD7DMWaSIWAHIXJcOKXyC Ty WOKNppLitrbpeitbepib
+KIASEW7OOMVdK7 V2} E0gINBdqGGgMSSiBik4 UbSxéDuiaghRdO2rErs8Cw+71
OOf7O/OOspLS/GcP TuxXiqxxH8JQvwE/GJ3aDyCchbsN8AhFZeGmktoYCGn0GL7w8Q
UHdsso3AvdB99ViegpJjAkpuuWnggP VR2VIFaviGiyxCmRcOBNZZrerymOnir¥2
DSrieiSM1ILjJROQkKFodNToY 7sB}+H5H TaykPeRItikstPovAJR2tG/76kKP+wEC Bo
RY¥dHOgqeSed HoyW pmCwwil SIFCRPz4Sy/t OY Sigh Grockdnmigthy THKJINIVa?d
NwyMuoFpbEgRRTWADHd8V1 BOnmHSajrauS tul37c5ht22Ap icWdLGZOQSk0iwpRMB
xWsowYiRe/cv1+GMsa8ieGQKCTrw +krgMbFl2+5lnvWidw2Z95OuT R584 JU fagpn2
OTkYRd?oAXBocyZ50/eG0iLXqcepWURisaGtutcS7SsEx7 yazsPG+yizvy¥Szuell
ydl+A8mPgUZ9nDDsLR7BgSX4X72ZP GiczLwSxo tcSouNtlz6YwUG4Indisesqdzy
i4oMVFT+gFaecL M1 PStgmUHdKHXyL ObpyQVv+SCbxXNSCKHG mBrEezizOukyzQTis
Y4CMFUPaTSFoQLWkUTYjOyRRAFPsigO4h05m31 EyKRSHCEq4vNEWWwony tevT4tvo
VRorkfivCiyYCrBUshxdPbLiDggAic7gSol LiPNVIT IwNpUZU 1u/SAchJM+roBBZE
HPnGsyhMDHWViUn DF 2si9Ad0Vidrw YrDB JUKSSatSdséna7vi2FT pjbwgSPM7|U
hiDOX1SvmlzZH2yNFq4RDDLwJbIigalyatXaR4OZJScOd/MabtGd/HdZHVYVBT
+yrOvEjUdnwElZpbutéalvxNkOq4kKyww/VOSbOAIRMS Ghd+qPiPCdQRgidmtktir
yV2V I MIZ6wIGKWIDSYSIApYiuerUibB TkyxOmrvxiciVuVbSgiIqHaAR4+NthbNNn
ayFuEaby4tiuWogRP7 Xt inBOwx I DJajZhkPzFdqOZmilL GaGexoRkaSt/UejDiw
6vcPfe/GBDMLdKQWadiSVy7GyatiwosCJowliagSS9EsgS PMGQdaQtGo/e10hsivP
OsScWyb/DEsP+1A4AxXabEeHmvbexqFeuylz/s2Ep J] J3eZykuuavgvOGT+jhalyP
2BSlarhyY qvxECihqwJdKwkQojikd0ZUiaemnViQGs TiUbLKin T6dRZoRIEnNDNPGMS
yiVENW iecoiascOxUie+8STeaey Qeanmled 7S Hvelect 2fenxge TVLMP Tay
gi+vSo02D3QfRuPBrokv07ipHzbwz4SghhPOPHpE4rhxiS4/SeDMl2sUinzSalivMU
ffspljgosXOcHY YqakCSFWakWejmie34vy+8ir_LuMeAPJLHUMnyv8kkKXuwrwQjue
yOdwrdzDnTVW19z7UTocDifZy9727kLKO+NFYTSKSEGASP+l4nyb4+6IM20pb3p
UHgaDpwéltOhwLiédlqcExXxE
=Oq9L
_ ——END PGP MESSAGE-—-

THB.158.051.0139
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12. Page 38 of 82
TIB.128,001.0728

From: John A Meine!
Date Sent: Saturday, 23 Septamber 2006 06:48:42
Date Received: Saturday, 23 September 2006 06:55:07
Fo: eurokang@gmail.com
Ge:
_ BCC:
Subject [Bug 55549] Re: bzr revert fails when reverting from a subdirectorywhere an Item has the same name as the subdirectory
No of Attachments: 6 :
Alfechment Name: None

 

“™ Changed in: ber fupsirears)
Status: Fix Committed => Fix Relaased

_

bzr revert fails when reverting from a subdirectory where an item has the same name as the subdirectory
htipsy/launchpad.netbugs/56549
 

 

 

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Frora: kingos

Date Sent: Friday, 08 September 2006 12:16:28
Date Received: Friday, 08 September 2006 12:16:35
To: goagle-sparsehash

Ce:

BCC: :

Subject Mult-dimensian revisited

No of Attachments: 0

Attachment Name: None

 

Hi, | saw in an earllar newagroup posting that mufticimansional
dense_hash_maps were not supported due to the POD restriction. Since
this has been removed {version 0.47), | was hoping io use them.
However, | get the empty_key assertion on the inner dense_hash_map,
because | cannot call set_ampty_key on the inner one.

is this now possible or not?

If not, how can { use ext/hash_map from both windows and linux? | saw
all kinds of #ifdef's in the google headers for this, what Is the
easiest way of doing it?

Cheere,

Andrew

You received this message because you are subscribed to the Google Groups "google-sparsehash" group.
To post to this group, sand email to google-sparsehash@googiegroups.com

To unsubserbe from this group, send email to googte-sparsehash-unsubscribe@googisgroups.com

For more options, visit this group at http://groups,googls.cam/group/goagie-sparsehash

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TIB.128.001.0747
 

 

 

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From: Danny Bhandari

Date Sant Friday, 09 June 2606 12:33:24
Date Received: Friday, 09 June 2006 12:33:24
To: nickbegg@amall.cant

co:

BCC:

Subject: m5

No of Attachments: 0

Attachment Name: None

 

— BEGIN PGP MESSAGE
Version: PGP Desktop 9.0.8 (Build 6060) - not iicensad for commercial usa:
www.pgp.cam

QANOR1DBWU4DVKBYChITIT0QB/9Y JPY8nekligeg1410g1 J2j5TySIXdMabBmY
IsFISATOCMIAESGKcLISL 7wWMidpnkjnOuty wiNs/2OyABribad BKNig/4RePbo
NV9OmYvU/R3 prxgZgnzdkz6y KaVy7VP+8rosT+58P 16.0; GaPenpkKiNsriliNAGHES
hylAep3P0YniF/q7dpH?si+ GemodxrTHaQomKO TWaUWogh6SdQkSBHZyTQK4aeS
LonaMNoKW/S6EIX)2gV204B4 OmtvEGxGicQimkbXNhrHCwL morpmvF401F4/mKo
AIDMadOq0VO68h1 pajliZFALHAI?xuL Ry OzqyB9z2 TES41KB/DORZ5AxxnOUZw
34nRigPo/acODitmeyYéhexdsbtRo4OmKghTinic TT KeGDeGZnlLivAbshat ioFu7z
2MKKKIKWOQb260a2ZL6xl/¥ VEWPY7ZROIcPxhLPpBvihMh2LfwY bFHndGSnkdKose
CM7JOe7/F26+mpeFASP3Ng7iwPg7mugoTLITKKBXUidhvRyMesMrMo44XelsASgM
pSmOaiiWaz/DoftSNLThEVKICxOSDRVYHStvTC33GXanABsMia/ Waki nmaAiswi
BNIAIOIG2MaSiaiCk 1 mdajbS4 t FDeGMwnBir4 Vx6GxQ03NK Yv+FEqSDMxnz20X
J8lvbor50sDEAbIObalt BD4FX038/4vmw25niLVZa 1 XEGxaégbWERKI2PHED KY
QnSpwFv8 TOFwaze2agmuAdjsk7akia7pLVgtCOnEcdst siLUgCwWOMF YaigAs7iw
Tox XSZHOINXg WeGSbOs8O0pkt LIMHzYiF6oY SkqiQLFCDWOOXJ60/A70LIWBDO
KLEZIBREUca4wWolmiZQsCqBMpGBerwiV85amvSOK 69+ Eis8i0+spdUlwoziGrok
J+QDFyGO8L|UOa8LNEa4M3YqkKz88xcvwip7 4zBmZhiKKWWEtRNYYXAWg/487ROg7
WRiSFik3KmGi74De7 mv2ixnhDwkb3bGk1 vrENMFejrahCHmRL)4GzBDVX2GgDix
2PZdkKOcsy3l4F0HpoHisXuZbZwBhdunEXOSsC4bY qi7PONGbGIbCBrNnel VAbI4d
GefivT TohhQxJ8D+ho7wmiAWEyLasxXyJ VEFAA TimPaxostGwE siveS/OGry TI96
RoeZ50KnXGRODIROQsgA==

=EWsl

——END PGP MESSAGE-—-

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11B.158.004.0425
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12

From: Oanny Bhandari

Date Sent Tuesday, 04 July 2006 13:51:05

Date Received: Tuesday, 04 July 2006 13:51:08

Fa:

CC: kinsayinc@hotmail.com; rottengarabatdi@gmail.com

BCC: Nick Begg; Campbell Nonvaed; Christian King: Glenn Wittiamson; Tim Berry
Subject: pgp key

No of Atlachments: 0

Attachment Name: None

 

—BESIN PGP MESSAGE——-
Version: PGP Desktop 9.0,6 (Build 6060) - not licensed for commercial use:
www.pgp.com

GANGR 1DBwEwDgHZecSAFrsIBB/SkJurieCIVuZAPygANkKOAVLADJXalrcswoad
ZGqdjPsra2zJkZ2E02OrhY Oo Iw2x¥xeW p7OT mojonf42ibe+wu24UKOJIOCaGXR
gGKdibsjweSadgq/s2SyKizWOigeD OSFnG3ndkixZgAwDiGultmasDxKiZsSuri+
OW45MJZgm/FlhvETKPA6GSdXSQSnSi4bUL Yzz0i0CUDWMySJRsLtJFYGhedweekcs
8ecXR +kBhMSN7InaRéCoizs|ZMo1vOsgzQzvT GJw0GeT] moxiGasy+4Shs}s+HGk
SMVHKizOp4QvvOzTudiCT THK TvdwH FSHati TuabKrosmir2GwcrOAt SowAeyksda
EAgAys TJIAShV2WAQQG6GBPBritxrE8 YgSUB/HW3WWSH+NLa/xvityXitBKIFGPpP
JkMBXO49NVKORFMoIMFbd2kbkt +AEeq2BS44UnG/2zUx2Ag}Oh YyRyiShDBzeux9
poiCiMlWUhvxJwBLUAAAfetgbS|MinpAKSpaYGJCQA0zF T2sxiT SRmiAaHat

comSit dHv/8aleVMOD buyvRZwwoh1+Rmpez4 KESSC7+PRyKeusWeEnxdsnhoOlotw
ZeSrHMlOAf2b27vesHJSOS/CihiiY 4 xkDogSlicHHNSgHFKOaGzQtyK7eE2gsM
QFH3CgUNUWhezSMxXJSA1GBy4IQgAsDLQ8qgR78lOmFRNiWwSwicwOo8Vumezkt+eEOS
RComHFYxTTBQREMYWmSnchyKZKiuPFUIOWB6702B6 TRFB4S/INYWGLSvixag/ ver
OpQzakPa4zWyP JxirmoPMxSpgvAlicd MmDPgwkyQ3n0bJ+rMGbEFJ4zJQynomMmz
2AMBIK3G7dXSinUWCmhE MVE HoHy7nsmiWndGPOQgNvTLwvakOhHyEAvimZigaoA3
t6Pt2eNLgexKIBMMvsCarbGS Oitzaz465720MyRndgATsxXxrESDomvolaNneviatxu
agSphAflOYGsqArL3pHoBmedxxplivmZARo&Za jRoOvpqEsSaMHATAPJFutctbo
dwElAlimbhg2FOSBOiLOCK Jk 7HwUS tediyMiyRrssérsd DBDx7tyxSGRxZen
mNxgii4aYaFVyHSxE97kDQjDeO7 npSfHWD JevuxV YowbyYiMGPZbHad1 Wupxdime
cesF3M13XylPrOaPoY 2mB05e0 vySQhhRIpD 7 VxNbgXX1DGmCSHgHmMSKMNHVHI3g
OTWMAcbPclCFPwWPpGijrhySVHzOnjPiqdoSBXSapRRuHOsiC2inNPCoatxUyTsbd
dOMcj2bZkO7 v30KmUdV4iXL SOSBEGQZXwoV vidgibZxhtetl4gxQwOeuujvxsp
faAxgWopdra/?2ZUPmCObzge Tn7 BwEwDdrallxv +TSBB/SlAdeqQ2HorY¥w/SZs
keR2K2VZr030SIseJmmes5s O18 HEyekin 1 WNW2iZiIMigzkncJ4A/J2itZCHwzV v0
JP2YDNWODfTNR445nHeSDVw2CbalhWFear? SNnt+awvzeGT OS MW gD 3meKKNpoJaNn+
MfQUqFoQT78w6TavPSu76iGEZEREshT omatN BOM3mm6TL&dDMcEtiHaxkeWssrT
UgszeauBObYcadikG yeYmO0+opgsjAkeJkdBoajLhixviGfGE9OFZOLS/TUPGAX
DhG+PKSmudK/Bsedk58ac8jqbvvuA7PtxURTCSesiFeRoiepLédJiSBnzodZkMss

FD KweBMA1 KAN 5SHkQaA OflaavKgAzY vaqojBOH IM anisOqnNqWBiVCbSw7RN TS
BUjuNocJO26svFi4JsdsRetsiC3owiCK21 16lQedHCE9zwidyJRHBM7Dikgzg00Twz
kOpKnBzV4/+EmisyfaOsit21 ToRIS7CédkSbFUrOSnHsUEptlqBvQPAp7KCH 14+
15RO0rsylodWAKMIZcONSE4¢nARKy Md VpUb4APvOMiacugioxyusis TvouKDcR
YSA7wS8ola/OWry2OtkpBkrivEZpOalqsVWir7 O42+dsWoLMOWiGhd tSorgosgPq3s
Gr¥nNzi9tullmOvgucRdQa/WEGwSFCAWIlqPwKiZIDsSxXcHATAOcPaxS|AeQhag]
AMaEzr¥qLCh9KPE1 G6ExsqBcsFiLid/iKiNFKKPGkFekUV24D4ibLHihbDsESNWg
WKSIINSWwOrnWdKOgieY SqVRGDTzb¢L gkwmva wMObkKz 0/7 Kva04+qUSxTaUz
hpUf7dCOgSQuokSEPO8Oz+49SwNyqzZBihIC4agnWGadsDoMh3sitGrodCinLebh?
wOVO/+1UTanBKWyad7nFSiMHEZgVoXFMdMOWKba3U VyHiyrHAFKrCPodiuHwCF
/OVeYZhUWUSisVeRezC2nbilHihuNliQly mnhgdUwChKP7IBZzy/dB TAHmGVpFH
fVXFietEYYFVnB arMRisSisBwEwDdE]igWiry TyYBB/OCgEalvw/vOWZzh8eDdkvdH
NEIUBoawetpGyObkgPY¥nEdSoJ8AhpcOmShW/CZOlde4BZzz225iz4 TY SedjZuLgic
y¥ICOMYIMC7SIxXrbOwrdcT2gsobY p3cN7HSrPw tsoxbOPI6BoudsO/UbsScoxMHx

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SCy2CdUATgVWO7IV4wWey AbLggkelOS6LT[XP YIASRo1 Sizavl JVhWpincOSWyR
OCweCBWiwwyqeOGfXBbl7SAxk42ctB6IET BAAZFeryl4+SelhJK tnigkhUcJVplu
OgAWCsYhOuGSr8aVJzzPVTMIsDP AMIEpICKFOSfSki0UNOgOSdzzFKIVGHINSAY
OsFJABLINaxp Ht VrzheQkuyhcR Twix MolRAxwHSo4LxNkRGEBipVJllsaigB
szSBpfiGTWri teHUIG6wECbIIReZEVOKSzAWOLReGewhDbq YrFyy36B8 i loylOml
X2yMqwmSoNVPMIsBg0SxIG4vabww/YECSIfnfeYumevgmxB7E7tu1mE Traavawxk
OflZyoUOyinF AOCFAMH4BpQSCobUyQyZElsiqwdvHanWwnZJaGYKawelollzZzd
c91X6eMpp8VmNNacPFR8cOC 1aMTiMLiPs3wVwa2sbBb+ JibtqCSMgsRGeq3/TabjO
plbgdX7iZGCC2GmZvAOQMpOZHSBivieFrOUSzZApAusTHSDHYPnaJ2Cuowsp7 wow
INOQ7SYESPSN Bt RePi0IASEghG39e3 iuQiégS50X+AcgudPybabM TopmQ3xtcf
NY cP8DnysyHZOb2y 10KO494HpixLSj/Daltax VIQWZHaaAbI2B 7 4ujn4hxOtVvems
PrBJYQ2orsu?CanWGBwdGmvsNUudeVAxJcTAVLWwiT duy4ex2VirFxi7geCdl
92zPeFx49SvviqnyY BGSpHFhbKNSE+/wL+sv2 UKONSO3yfFObBoM Y2jUvio/HpR8uz
QgTEdpTIKJNXMVIKAdKIJIW]+W7v6liDOOw? ZF CihicVS30leDxSa.fol=
=Mwu
——END PGP MESSAGE-—

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EXHIBIT 4
 

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Freehills
a
Mallesons Stephen Jacques 13 November 2009
Governor Phillip Tower : Matter 81597947

1 Farrer Place ‘ By email
SYDNEY NSW 2000

Attention: Mr Maurice Gonsalves and Mr James Lawrence

Dear Partners

Tibra Trading Pty Ltd & Ors ats Optiver Australia Pty Ltd & Anor
Federal Court of Australia Proceeding No. NSD 681/2009

We refer to tha hearing on 16 Novernber 2009.

We enclose short minutes of proposed orders. We note that the annexures to the short
minutes have not been included. We will provide those annexures to you in due course,

Gur clients still consider your clients’ pleading to be deficient However, in order ta
facilitate ihe efficient conduct of the proseeding and to avoid prolonged plaading disputes,
our Gents consider ihat tie prompt provision of the Applicants’ evidence will best assist
in the understanding and pragress of tha case. For this reason, our clients wil! consent to
continued confidential access to the Applicants' experts of Discoverad Tibra Source Code
for a defined period In order that your clients’ evkdenca in chlef can be prepared. We trust
that this resolves your clients’ application fer interlocutory relief in relation to source coda.

In relation to the application regarding the persona! computers, as you are aware, our
client does nat consent to the orders sought in paragraphs 25 and 26 of the Application.
As an alternative to the orders sought, wa are instructed to propose that Mr King's
computer be Kept securely at our offices for as long as Is required by the Court. This
would alleviate your clisnts’ apparent concern (as expressed in the affidavit of Mr
Lawrence dated 28 July 2009) that the computer might be disposed of, misplaced, or that
material on the computer may be deleted (although we note that this evidence was not
admitted).

We have made enquiries of our clients as to the location of the remaining computers
referred to in paragraphs 25 and 26 of the Application. We are instructed as follows.

. Mr Williamson no longer has in his possession, custody or power the hame
personal computer referred to in paragraph 12 of the Affidavit of Andrew King
affirmed on 19 June 2009 in proceedings NSD 1716 of 2007. He disposed of
tha computer in approximately November 2007 by putting it in a rubbish bin at
Thiroul, where he was living at the time.

. Mr Begg no lenger has in his possession, custody or power the home persenal
computer referred to in schedule 2, page 5 of the Supplementary List of
Decumants in proceedings NSD 7146 of 2007 because he has given the
computer away before the commencement of the preliminary discovery
proceedings.

: Mr Tydeman no Jonger has in his possession, custody or power the personal
computer referred to in paragraph 7(b) of the Affidavit of Andrew King affirmed
on 19 June 2009 In proceedings NSD 1716 of 2007. He disposed of it {by

Dos 3399673.1
MLC Centre Martin Place Sycdeny NSW 2006 Australia : Telephone +61 2 9226 5000 Facsimile +61 29322 4000
GPO Box 4227 Sydney NSW 2001 Austratia wew.freehlls.com DX 361 Sydney

Syaney Melbourne Perth Brisbane Singapare Carespondent offices In Hianel Hach Minn Clty eka
 

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Freehills

putting ft in @ rubbish bin} in about August 2007 when he upgraded fo anew
system.

. _ Mr Muirhead no fonger has in his possession, custedy or power the personal
" computer referred to in paragraph 7(b) of the Affidavit of Andrew King affirmed
on 19 June 2009 in proceedings NSD 1116 of 2007. He disposed of it (by taking
it to the Whytes Gully waste disposal} in about March or April 2008 because it
had developed a fault at the start of 2008.

in relation to those computers which are no longer in the possession, custody or power of
the specified person, the orders sought by your clients at this time will have no practical
effect. Accordingly, please let us know whether your client is agreeable fo our clients"
proposed course of action before the hearing on 16 November 2009.

 

Campbell Thompson

‘Partner Partner
Freshills Freehills
+61 2 9225 5221 +61 3 9288 1820
+61 414 225 221 +61 439 950 960 .
sus.glichrist@ireohilis.com : -  Sampbell.thampson@ireehilis.com

Tidra Trading Ply Ltd & Ors ats Optiver Australia Ply Lid & Anor
2399673 Federal Court of Australia Proceeding Ne. NSD 6841/2009

page 2
 

 

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In the Federal Court of Australia

New South Wales District Registry
No. NSD 681 of 2009

Optiver Australia Pty Ltd & Anor
Applicants

Tibra Trading Pty Lid & Ors
Respondents

Short minutes of order

The Court orders by consent that -

Pleadings timetable
1 The time for the Respondents to file and serve a defence be extended to 23 November
2009.

2 The Applicants file and serve any reply on or before 7 December 2009.

Respondents’ access to CA-§ and CA-8 of the Applicants’ Statement of Nature af Case

3 Order 2(b)(vD) of the Court orders of 16 October 2009 be vacated,

4 The Respondents and Justin Chau be permitted to have access to CA~6 and CA-8 of the
Applicants’ Statement of Nature of Case on the terms of the confidentiality regime in this
proceeding as described in paragraph 5 below.

Confidentiality regime

5 The confidentiality regime in this proceeding be amended to the form set out at Annexure
A (for the Applicants’ legal representatives), Annexure B (for the Respondents’ legal
representatives), Annexure C (for any independent expert engaged by the Applicants),
Annexure D (fer any independent expert engaged by the Respondents) and Annexure E
(for the Respondents and Justin Chau),

Applicants’ access to the ‘Discovered Tibra Source Code’ and evidence in chief

6 Any independent experts engaged by the Applicants who have executed appropriate
confidentiality undertakings in this proceeding have access to the Discovered Tibra
Source Code (as defined in Annexure C to the Court orders of 12 August 2009) for a
period of 1 month from 16 November 2009 to 16 December 2009 on the terms of the
confidentiality regime in this proceeding, for the purpose of preparing evidence to be
filed in accordance with order 8.

7 Any independent expert engaged by the Applicants is to return to the Applicants’
solicitors all “Tibra Confidential Documents’ and ‘Tibra Source Code’ (as defined in the
conlidentiality undertaking at [Annexure C] on or before 16 December 2009.

8 The Applicants file and serve their evidence in chief by 30 January 2010.

 

Filed on behalf-of Respondents by:

Freehills DX 361 Sydney

MLO Centre Tel «= 61 2: 9225 5000
Martin Place Fax 6] 2: 9322 4000
SYDNEY NSW 2000 Ref 81597947;SMG:CPT

Freehills | NATPOO2S7a39S538 , Email: sue.gilchrist@freehlis.com
 

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Form 47 - Short minutes of order »« Federal Court

Other discovered material

9 The Applicants’ solicitors return to the Respondents’ solicitors all material produced by
the Respondents on preliminary discovery other than the Discovered Tibra Source Code
on or before 17 November 2009.

Personal computers sought by the Applicants

10 The personal computers referred to in paragraphs 4 and 5 of Annexure C of the Court
orders of 12 August 2009, in so far as those personal computers remain in the possession,
custody or control of the relevant individual, be delivered into the custody of the ©
Respondents’ solicitors until the determination of these proceedings or further order,

Directions hearing

11 The matter be set down for a further directions hearing on [the first available date after
30 January 2010.]

Other
12 Costs be reserved.
13 Liberty-to apply on 2 days’ notice.

Dete: 16 November 2000

 

 

Solicitor for the Applicants Solicitor for the Respondents

 

Freshills 13399638 — Printed 13 November 2005 (407416) page 2
 

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EXHIBIT 5
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| - Freehills

Mallesons Stephen Jacques 8 January 2016
: Govemer Phillip Tower Matler 81597947
| i Farrer Place By email

SYDNEY NSW. 2000

Afiention: Mr Maurice Gonsalves and Mr James Lawrence

Dear Partners

Tibra Trading Pty Ltd & Ors ats Optiver Australia Pty Ltd & Anor
Federal Court of Australia Proceeding Na. NSD 681/2009

We refer to your letter dated 23 December 2009 enquiring about the disposal of the USB
stick refersed to in our Jetter of 22 Decernber 2009.

We do not agree that the USB stick as such is “clearly righty relevant to the subject
matter of these proceedings". The source cade repository, a copy of which was contained
on the USB stick, is relevant to the proceedings. You have been provided with a copy of
the repository. We are instructed that the USB stick contained no olher documents of any
conceivable relevance to the proceedings,

We are instructed that Mr Williamson disposed of the USB stick by placing it In a bin at
the Westfield shopping centre in Bondi Junction.

Yours sincerely

 
 

Campbell Thompson

Partner Partner

Freehills Freeshills

+64 2 9225 52271 +61 3 9288 1820

+61 414 225 221 +61 439 950 960

sue. gilchrisi@freehitis,com . campbell. thompson@freshilis.com
Doc 3802033,3
MLC Conke Marcin Pizce Sydney NSW 2000, Australia Telephone +61 2 6225 S000 Fackimile +61 2 9972 4000
GPO Rox 4227 Sydney NSW 2007 Ausbaka wwe. frechils.cam OX 361 Sydney

Sydney Meourno Forth Brisbane Shigepore Comoxpendant offices in Kano] Ho Chi Minh City Jaana

 
 

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EXHIBIT 6
 

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Things To Do:

 

By...
17 Fulp (-7w)

Finalize Capital Numbers

 

Finalize plan for fit-out
Begin getting expressions of interest for alternative capital vehicle

Sign Lease
24 July (-6w)

Begin Fit-out

Order bulk of Hardware

Finalize Korean, Japan, Singapore brokers
Confirm all Foreign Tax issues with Tax Lawyer
 

 

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Order Korean, Japan, Singapore data lines

Ensure Orc has or is in the process of providing links to said brokers

Have following documentation drawn up : Employee contract, IP Warranties, Alt. Capital
Vehicle Prospectus ,

31 July C3w)

Have following documentation drawn up : Heads Of Agreement, Shareholder Certificates
Hold presentations for alternative capital vehicle

7 August (-dw)
Finalize Junior Traders

14 August (-3)

Finalize support staff

Applications close for Alternative capital vehicle
Allocations made for alternative capital vehicle
Trading Capital to be lodged with Fortis

Data lines in place for HK, Korea

ai August (-2w)

Alt Capital Vehicle to be lodged with Fortis
Finish Certification of Orc HESE link

28 August (-Iw)

Heads of Agreement to be signed

Employment contracts to be signed

IP Warranties to be signed

Shareholder certificates allocated

Erase all emails, sent items, deleted items, Skype chats, files etc from hard drive. Copy

all existing files into new files. Fill up or blast hard drive. Destroy 2 all paper
correspondence. Discontinue PGP

¢ Sep (0)

First trade for Oz, HE & Korea
Junior Trader’s start

Li Sep (+Iw)
18 Sep (+2w)

First trade for Japan
 

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25 Sep (tin)
2 Oct (+4w)
9 Oct (+5)

First auto-trade : Korea, Oz, HK, Japan
First mass quoting via own system : Oz, HK, Japan

Non-competes end:

Glenn — 28" July

Nick — 28" Aug

Marty ~ 1° Sep

Andrew — 1° Sep

Christian ~ 1 Sep or 15" Sep
Campbell ~ 8 Sep or 22™ Sep
Clint — 17" Sep

Kinsey — 2" Sep

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EXHIBIT 7
 

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From: Denny Bhandari

Date Sent: Monday, 07 August 2006 11:13:38

Date Recelved: Monday, 07 August 2006 11:13:38

To: Campbell Norwood; christianking81@gmali.com; rochif@gmall.com,; raska27?@gmail.cam
cc: ,

BCC:

Subject RE: Admin

No of Attachments:

Attachment Name: None

 

—~BEGIN PGP MESSAGE-——
Version: PGP Desktop 9.0.6 (Build 6060) - not ficansed for commercial use:

WA. POp.COM

QANGRTIDBWEWDG3S0I0TcASBBOfizekMdped efwhwjGeDe/Y rPRSzvimXJNKOFJ
WSK2deSyUODgt7 y2UVejQOS3MriN TdvUZXU20038Vz8bCh4eySDqVi31Z3NU9
LoPp+DmxtxCBkHLY 218 1iSNu8s92P/kJbwJ WOODW TowSBYkOWopx2PINaSTuxemT
dQSCXIGakOgxcT HpenepA2wLSHiLFx]S+OHFvO4ddrwis YTMASM9Q+|s4jaxGdF+
OM pognd+mxogwynGluFCl5dBaleVVURSwTwslkaWeQTAFRUYAUOUUBIHAZQowd
sfBC4zqgWDokr0Gdnrgbs/6PKGQuiaUIRM+JPnk/psOeNa0Y weBMA/R2XHOOBatS
AQROSECWIDsNav300lwtqTh(JIP ?whPGnvyOxuMvdS+822F hqRqExG2xjxsmt7wD
BmCBAyw+PIHtJ7e2CRPBTaddyDC074dfCgSwY21FgSk OoxpkiGi0Esinahtsx
Xzd4h'¥ZkGgid6?zarNEYzEa8a0GhimRDuss2PRCKHcSiYuxTamZGslQRo0esKAG
FROdgBagl4K4teHHG TaSxCiexIMu 1 QWnYaCOHxNlFOkebo4xswipManUggmGo2N
xHOSVWUPSU2C27R3SZE 14V 4 OvzRetBaBolSnednuuwegiqakkHBY2URET TuBB5r
EWFSHbt++kvXvil'¥la2lObrsHB TgNUoFakKGJOAWhAH/AsVF2IFGWO002Y0RBNI
iyqyiLcakF+bb5aZiofJusiAZVspdISSMNSlapOPey idmaFaYgkVAjtio1xXmiFAG
UGrSMLyvsqféw5Qk8kzXtVaR/oUmrcWiPKxhbTyFzeSpi2pe+sQqthwDCBy20lV .
PWISZKVutnw+qwZ2m7GD T3QaWusai8EVmvcaspwxd_ FIEXwUigOkxndli7xUGed
4721S IAXGgOy4u/Dxt62gJo4OSXISCFDISPisvq/ftrQgRNvBxiAGVn7 qseT7T
hzj9zGyNLCas9 Bx/aHDIXGJuMsG GoFNVhoFb W552 ISalZgXRNXSVIPGPdpGOojNb
So0H/iNzpgMikN 1 musbufTE+h IMwiSNhCJ8akFwBYbSn7SvV2be8 bpzzZ7 2yttz MU
HON; iqf77FOKNNGysxq2dT552P24GRiKSTS in4wZd4EzUYbsPS22tE/musOnLo
NFyYO8GXzzd8BNnPDvTjavvis0rgXxCigvad WXSOIGHHJEleddHD/nEcSinR+r
sXjIPBSBh7x1 FmhkAMHZJEGQMSwktigYNStOlgGy ToctkquUre7figJ+CxUWpQau
CONytelqyOVTVqdbnd5TuZiwD+0+22M6+xtaWagd/8DHsdiuMS+01Te/axjL7qwhu
IHflx4 xX v2bFyXO480Gbo]XkqODBwEwDyRbvpXPm6HcBR/epsOkPKiEOSE4cqEF
sit0z+Y SgefEnbEPhp7/ZOA2Zyst 2v4hDGFwx04/MuJ2bFsisdSBexupinQw7 ths
ze2¥nmltPKSMDbIHASLT Thi PaNhfiStFsLbWM7RAGADSIbIYLS HLS0Redisw53
Vmei35zGucJGWVROdPyxHIWSTXxyxRM BIOXHbhovVtPésPa423y +7 WikbWagirU
4Molvakd3G8Hao2JWERFSSUaRZeUdiNnWeoelkGVakz)StkiginAeCPDbDKCB
rS2xpQJOzzg7nr2cZ kySVxwN +QuIniKWawyvewGBhwC/yh/D 1iyNuGsoJ+PEAU
MK64wcBMA3a0L22eVik/AGHYkKSS0AVysiesOdPq Jot 7jopIPSAF 7olegHSADU0o
OgDHL7bcL KpLPxiZzObnsaxtcVgAbW4JIZo8COC4GwHihextmidiclish We exho
rerClofy2BclySSaPDivividl1 kxq1SBwOoHBVzCzs2R]SSWIbUVZMd Y2OyOP2+K¢
tLyJqMaupinnSéspimCv725 TyztSiDOwGbxIKiopUKvk7SFkM++4hjcCGxusSvTM
ReaJPrGNgfKWGNWiNef4i2hiDsQWRS4ohmWefST Byu7 PSSalg POE SpONMhirez,
WRJySTxbSP Qy i myxGd4 pir 5+42R TSG lbzauhOPO/SU4qhsHA TANSo4wDeRSEGgEH
AIZEB2LisxyOxSLVViu+ OkSBX7ISSboRSVB 1 iShhygzZ/Sverm07Gh2AMGMpJd
OrLNOuGpisNJFeqqe?cFP7yNFBQVpDriEBlvegSJifaipkMio1xEZA_oW7BOMo
Zhiy2bNRUANO BKEAJpIZOWWGCDROOOedil7IIND2TAOBSxZc1 IX Thu/oNLbb
MDYqVDbGJpAT2ZclEgihVV1 pRRm] YotYVttAQOPODpSTZ TOCOVIEBAOroya YUOpP
uzGkVtaka1Zi1B4cYD0A1 RovDkGrHngXBEdoP46kxOdzSazHomUzmoreOUmzons
S20404EU/V Y4PBKeENjtalSBwEwDnD2sUowHhIOBCACazfishRHAAOXlyeAllaiX
imieyKREsMjoVs2FWOIUZGF HINRAxQURNGeT VMcc7 wFzsyNSibSa305d7kAsMer
hiWinse44iaréxAhsmGkhDS+yY toV/PZbSDiSXxC4jGnLnk/NOAZ3OySpPmrkRV

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SHIixFLpH +AcKypnajagiggF wR? YJRy3r£1 7efe2zUCD i nslyRpgBx3t6eLFta
DUAsmxiZ2kR/DQWApXzmtox0zxub056limhiMyaSxm7qqaFORLyVdTyNeSHBk3l20
swu/QHHMCsy7TFCFnGvhGHsdplw TW 4i03vraspiC 9aSiDhOQYoby fOsK2bdsOObuts
weoBMASRiMoFgS2E2A0fSHAmpRSND 1 SIEVTsiWexhJq TWvegSAZnObZBxSn YZERIA?
XNOLm70HBpPBdRUxtir7 SRG YNAHIZEHh Nh oir ZPALPZtaspxxDeGTbhmork
pBVMG9/g.14kZ051 o8py20cLJ4ifUV5yJoAoRYEHpUbfeHpgRiGdymACH INJSQ4
ZoQquu0gC talbaCQjOP 2K aHHan2beZSLcAKFJeESMPsO7S00FVQAwTdljFUu/EO
enmO WyLPO4 pliMf+i8Gr1S2Bo1qqFeAAB2yY ONINEgGSGuSD2CxMJptizPrzeC 01
Cp30j02USaNB2RKSV 1pELABeeJbQViichdRN/h2e2d_BwwGsdMz94V0LHemNHJOE
niAjeOlfqi 2himM52JU1ZAIRSTPis JEKb YNXMSbVArFST RORRoWwSD9PLeMiLa
DwyhdallfWoPFHWUWannk kik RASrveJSNeS!/ 1DreMylAjzontwEelliLdHONHB
ZimKJIWXZdFofcAhBIRGNoh? ZimYulu/nDwl ifvLoWwa7 OZRmZfAZRqHDoLVvaBx
2Nc7sWVNIGLEBMyOpxXsAdQHkkGxdkkcl/AMIUWDVONF+FofpMaGJJTi+4cTKRI
5OmHLkwo4RViksOxTycEyX3A Ve MusoTZckpL7BNSQdLT4/X¥ QJbIRJSFSGOdVi)
ANaSea2EbhpDy/r875sba/g2sIN2TIv04 14FhpSCq1X0cbgycF JPixyPInAPEGsmé

JbQY p04he4V2zHVVWiIBsUmdembdN/ANEBcGjoxjgmud Y¥MwSLiEmdsUxzmdGmegP
S8iqhtkidkKMdbmsHBnihEFExprioWkps8U/aktScY SzhFighPnUOK1vEm7iOTDS
ShreCExokzdFg4QTG To4PTHRxCBeWVSVVinqnsdlB+aor ¥ SfsxxotFidviBylHy!
JAZSudyy2bDsDy2+PFmsjQwBiA/kxwC/kea4jJLJudLy ByMayAst Mr JHLvOAS
iC+2QESSWSAs8YRS7plhCeahFbadgiP VilV7rLOUMSEJkyZ2QmitrtcSNL pASwSn0p8
yk+Y¥aRKpM&2eLE81od+miTritZyrejTzdhBFxOPBKSVDNZan2K/sYavOadVQUIv
jeokTOuxDOXrTIMbS4H/MiJax0KqoswyY 7/yLiinknry 6 +dnsvans5E7EQKY FVek
iz63klo=

=06G

-—-END PGP MESSAGE—

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EXHIBIT 6
 

Case 5:12-mc-80242-EJD -Document 3 Filed 10/09/12 Page 58 of 82

be.

Freehills
ea OEIC
Mallesons Stephen Jaques 28 June 2070
Governor Phillip Tower Matter 81597947
1 Farrer Place By hand

SYDNEY NSW 2000

Attention: Mr Maurice Gonsalves and Mr James Lawrence

Bear Partners

Tibra Trading Pty Ltd & Ors ats Optiver Australia Pty Lid & Anor
Federal Court of Austratia Proceeding No. NSD 681/2009

Pursuant to order 1 of ihe orders made by Justice Emmet on 21 May 2010 and the
Electronic Exchange Protocol agreed between the parties, enclosed is the verified list of
documents of the Respondents (fhe List).

At this stage, however, the verifying affidavit of the {1th respondent has been signed but
has net been sworn before a relevant officer. We expect this to occur later this week.

We intend to file the List tomorrow. We anticipate that the Registry may seek your clients’
consent in writing, in the same way as the Registry sought our clients’ consent to your
clients filing the Further Amended Statement of Claim out of time. Accordingly, please let
us know in writing whether your clients consent to this List being filed on Tuesday 29

June 2018.
We make the following comments on the List

4 In relation to the personal computers identified in our letter of 13 November
2009, with the exception of Andrew King's computer, we are not in a position
to know whether or not those computers contain {or formerly contained)
relevant documents on this discovery (which were not.duplicates of documents
uploaded onto the initial Tibra repository In September 2006), because the
computers are no longer in our clients’ possession, custody or power.
Accordingly, we have not included these computers in Schedule 2.

2 - Sub-category 5.1.12 covers, insofar as they relate to the November 2006 Tibra
Programs, “ali references such as text books and papers used in the
development of the source code”. We understand this sub-category to be
directed at seeking material, in the nature of reference documents, specifically
used in connection with the development of the Tibra code base up to and
including 15 November 2006. We do not understand the sub-category as
extending, for example, fo any document imparting information which formed
part of the general stock of knowledge of fhe code developers during the
relevant period. Nor do we read it as seeking, for example, any publicly
accessible material fe.g. on the Internet) pertaining to aspects of code
development that may have been read or used by one or more of the
developers of the Tibra Programs during the relevant period.

3 Sub-category 5.1.13 covers, insofar as they relate fo the November 2006 Tibra
- Programs, “all source code or pseudo cade provided by external parties such

Dos §347321.9
MLC Centre Martin Piace Syiney NSW 2000 Ausiraliz Telephone +61 29225 5000 Facsimile +61 2 9322 4000
GPG Box 4227 Sydney NSW 2001 Ausiralla ywavw.treehiils.com OX 36] Sydney

Sydney Melbourne Poin Brisburm Singapore Corespondent offices in Haag HoGhl Minh City Jakarta
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12, Page 59 of 82

Freehi

as Orc and ASX that were not checked into the repasitory”. We do not
understand precisely what this sub-category is designed to capture. We are
instructed that the repository contains all source code necessary to build the
Tibra Programs, apart from the following external libraries:

. The C++ Standard Library;
. Boost C++ Libraries; and
. The fibuuid tibrary.

The above external libraries are not part of the repository for the Tibra
Pragrams, and we do not read sub-category 6.1.13 as requiring the
Respondents to produce them. In any case, those libraries are publicly
available and the Respondents would expect any company involved In C++
development to have copies of those libraries.

We have located a number of emails from the relevant date range which are
protected by PGP encryption. We have not identified any means of decrypting
those emails. Accordingly we are not in a position to ascertain whether or not
any of those emails are discoverable. If any of those emails is discoverable, it
is identified in paragraph 9 af Schedule 2 of the List.

We will provide you with the electronic export of documents on the List iomorrow.

 

Campbell Thompson

" Pariner
Freehilis Freehills
+61 2 9225 5221 +61 3 9288 1820
+61 414 225 227 +51 439 959 960
sue.gilchrist@frechilis.com campbell. thompson@freshills.com

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page 2
 

 

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_ EXHIBIT 9
 

 

_ Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12 Page 61 of 82

Freehills
eA
King & Wood Mallesons 6 June 2012
Gavernor Phillip Tower Matter 81697947
4 Farrer Place By email

SYDNEY NSW 2000
Attention: Mr Maurice Gonsalves and Mr James Lawrence

Dear Partners -

Tibra Trading Pty Ltd & Ors ats Optiver Australia Pty Ltd & Anor
Federal Court of Australia Proceeding No. NSD 681/2009

We refer to the further discovery provided by our cllent 28 Octabar 2011.

As you are aware, that discovery contained copies of encrypted emalis. Decryption of
these emails requires a copy of the individual recipient/sender's private key and
passphrase. The only existing record of a private key belonging to any of the respondents
is the privaie key of Mr Andrew King. This key Is contained on his oid personal computer
which your clients’ expert, Mr Carson, has inspected.

Prior to providing further discovery to your clients, Mr King provided several possible
passphrases in an attempt to decrypt the email cammunications, Unfortunately, our
attempts to decrypt the emails with those passphrases falled,

After reading your clients’ opening submissions, Mr King requested that we provide him
with his private key so that fe could make another attempt to decrypt the emails.
Yesterday, Mr King was successfully able to identify his passphrase. Pursuant to our
clients’ ongoing discovery obligations, we attach a copy of each email that has been
decrypted. The passphrase ultimately used te decrypt the emails was originally provided
by Mr King in July 2010 however, due to a transcription error at the time it was provided
{by Tibra's in-house counsel at that time), attempts to decrypt the emails falied and the
passphrase was rejected. -

Yours sincerely

   

Partner
Freehilis

+61 29225 6221
+64 414 225 22%
sue.giichtist@frechilis.com

Doc 15508364.1

MLG Cente Martin Place Sydney NSW 2000 Australis Telephone +67 2 9225 5000 Factimila +41 2 9322 4000
GPO Box 4227 Sydney NSW 2001 Australia wewtieehils.cam DX 361 Sydaay

Sydney Melbourne Forth Brabane Singapore ‘ Associated offices in Jaiarla Belpng Shaophal Hato! Ho Chi Minh City
 

 

 

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TIB.133.601.014? -

From: Danny Bhandari

Date Sent Tuesday, 15 August 2006 17:08:09

Date Received: Tuesday, 15 August 2006 17:08:28

To: Campbell Norwood; Christian King; Glenn Wililamson, Tim Berry; Glint Maddock; Kinsey Cotton; Andrew

King: Nick Begg;
kingos@optushome.com.au
cc;

BCC:

Subject structure

I don’t know if this has been discussed recently, but if you don’t have a family trust
stracture in place ete, you should do something naw, especially if you are borrowing
money for this caper...if you are unsure about this, let me know...maybe we can put
together a checklist...but I would move on this cos the HOA and shareholding stuff
should be dated 1 sep for all sharebolders...

Danny
 

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TIB.159.003,0003

From: Glenn Williamson .

Date Sent Tuesday, 01 August 2006 16:34:25

Date Received: Tuesday, 01 August 2006 15:34:25

To: Nick Begg; Andrew King; Tim Bery; Danny Bhandari
CG:

Bcc:

Subject: James Tydeman

No of Attachments: 1

Attachment Name: James Tydeman Resume.dec

This is the guy I interviewed today, Overall impression is that he seers to know what
he’s talking about, and he is comfortable with the idea of a market link. His
experience according to his resume is pretty impressive - lots of C++, C# and Delphi.

My only worry is personality - his nature is slightly effeminate .. the way he speaks is
a Bitle “interesting” .. very slight physical speech impediment. Maybe he was nervous
or something,

In terms of skills tho, 1 think he's pretty good - so what I was thinking is offering him
$80k, and explain that this is a

"probationary" salary for 6 months ~ at that time we'll review kis performance and
probably push him either up to 90k, or if he's really good: into the $100k + bono club.

Objections?

gleNN
 

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EXHIBIT 10
 

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IN THE FEDERAL COURT OF AUSTRALIA
NEW SOUTH WALES DISTRICT REGISTRY

 

 

 

 

NSD £116 of 2007
- 7 OPTIVER AUSTRALIA PTY LTD
gi AL COURT OF AUSTRALIA .
Oa. DISTRICT REGISTRY Applicant
- FILED/ RECEIVED
TIBRA TRADING PTY LTD
23 FEB 2009 First Respondent
[Fee paid Snnuemmenercrsr TIBRA CAPITAL PTY LTD
Second Respondent
TIBRA CAPITAL MANAGEMENT PTY LTD
Third Respondent
TIBRA GLOBAL SERVICES PTY LTD
Fourth Respondent
DINESH BHANDARI
. Fifth Respondent
GLENN WILLIAMSON
Sixih Respondent
TIMOTHY BERRY
Seventh Respondent
ANDREW KING
Eighth Respondent
KINSEY COTTON
Ninth Respondent
ORDER
(Order 35)
JUDGE: Tamberlin J
DATE OF ORDER: 19 February 2009 -
WHERE MADE: Sydney

 

Filed on behalf of the Applicant by:
MALLESONS STEPHEN JAQUES

Level 61 Governor Phillip Tower

1 Farrer Place
Sydney NSW 2000

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DX 153 Sydney

T+61 2 9296 2006

F+61 2 9296 3999

Rei MCG:IL

Matter no: 02-5171-5988
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12 Page 66 of 82

THE COURT ORDERS THAT:

I The Respondents ard each of them give verified discovery to the Applicant within 28 days of the

making of this Order of the following Documents in their possession, custody or power,

including all versions thereof (whether current, archived, deleted or otherwise):

(a)

(b)

(c)

(d)

(e)

@

{g)

(h)

all source code and object code for Optiver Programs;

any historical source code repository containing source code for computer programs

which perform any of the Functions;
all source code for computer programs which perform any of the Functions:
all source code for:

63) the prototype autotrader allegedly developed by the First Respondent between
June. 2006 and mid-November 2006 (as referred to in paragraph 60 of the letter
from McCabe Terrill to Maliesans dated 2 October 2007); and

(ii) the computer programs developed by iMantras India (Private} Limited for the
First Respondent pursuant te the agreement between that company and the First
Respondent dated 26 June 2006 (as referred fo in the letter from McCabe Terrill
to Mallesons dated 2 October 2007),

 

all source code revision logs relating to the development by the Respondents or any of

them of computer prograras which perform any of the Functions;

all Documents evidencing communications between one or more of the Respondents, or
between one or more of the Respondents and any third party, in relation to the Optiver
Programs (inchuding, without limitation, communications relating to the location of any
Optiver Programs); and

all Documents evidencing communications between one or more of the Respondents, or
between one or more of the Respondents and any third party, in relation to the source or
origin of computer programs that perform any of the Functions.

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Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12. Page 67 of 82

2 The Applicant notify the Respondents in writing of the identity of the independent computer
experts whe it is proposed will inspect the documents produced pursuant to order | above at least

14 days prior to such inspection.

3 The First to Ninth Respondents produce to the solicitors for the Applicant for inspection, within
28 days of the making of this order, all Documents falling within Order 1 (including, in the case
of Documents falling within Orders 1{a) to (d) and (f), in electronically searchable form).

4 Access to:
{a} computer source code discovered pursuant to Order 1; and
(6) = any Documents in respect of which a claim for confidentiality is made,

be limited, umtil further order, to the solicitors for the Applicant and to independent computer
experts notified in writing to the Respondents pursuant to order 2 above, each of whonr have
signed a confidentiality undertaking in the form annexed to these Short Minutes of Order and
marked “A”.

4 Ifthe Applicant commences proceedings in this Court against a Respondeni for final relief
relating to or arising from any of the subject matter of this preliminary discovery application
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dG oN Mates
Pues

       
 

(b) that Respondent's costs of complying with these orders;
be treated as costs of the Substantive Proceedings as between the Applicant and that Respondent.

§ Ifthe Applicant does not commence Substantive Proceedings against a Respondent not later than
90 days after that Respondent has made available for inspection al] Documents discovered
pursuant to these Orders, ihe Applicant pay that Respondent’s costs:

(2) of and incidental to the hearings on 3 October 2007, 30 November 2007, 11 December
2008 and 18 December 2008; and

(b) of complying with these orders,

7 The parties have liberty to apply on three days’ notice (including, in the case of the Applicant,
liberty to apply for further discovery).

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Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12, Page 68 of 82

8g ifthe Applicant does not commence Substantive Proceedings against a Respondent not later than
90 days after that Respondent has made available for inspection all Documents discovered
pursuant to these Orders, then the Applicant is to deliver up to that Respondent’s solicitors all
Documents (and any copies thereof) discovered by that Respondent in accordance with these
Orders.

fin these Orders:
“Documents” has the meaning in Order | rule 4 of the Federal Court Rules.
“Functions” means any of the following functions:
(a) auto-trading (including hitting good trades and placing hedge orders);
tb) providing a connection to a trading exchange over a network;
. {c) receiving market data (including stock prices and trades);
(d) facilitating the placement of orders on a market;
(e} updating trading parameters and data in the Orc trading system:
f provision of calculated values using formulas based on financial mathematics;
(g} - estimation, management and presentation of risk in trading derivatives;
a) reconciliation of clearing company and in-house trading data; and
(i) data logging, network socket/thread management.
“Optiver Programs” means the Applicant’s computer programs, known as CATS, FL, GMI, Market

Link, CubClient, ASX-ITS GMI Channel, SFE GMI Channel, F1 System Tester, PosChesk, OP View,
Snappy/Croc, Rho and Basket Trader. oo

. pre ss
Date that entry is stamped: 25 Fon agg

     

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TO TIBRA TRADING PTY LTD, TIBRA CAPITAL PTY LTD,
TIBRA CAPITAL MANAGEMENT PTY LTD AND TIBRA GLOBAL SERVICES PTY LTD

TAKE NOTICE THAT IF YOU DISOBEY ORDERS i OR 3 OF THESE ORDERS OR IF YOU

FAIL TO COMPLY WITH ANY OF THOSE ORDERS WITHIN THE TIME SPECIFIED YOU
WILL BE LIABLE TO SEQUESTRATION OF PROPERTY.

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TO DINESH BHANDARI, GLENN WILLIAMSON, TIMOTHY BERRY, ANDREW KING
AND KINSEY COTTON
TAKE NOTICE THAT IF YOU DISOBEY ORDERS 1 OR 3 OF THESE ORDERS OR IF YOU

FALL TO COMPLY WITH ANY OF THOSE ORDERS WITHIN THE TIME SPECIFIED YOU
WILL BE LIABLE TO IMPRISONMENT OR SEQUESTRATION OF PROPERTY.

 

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«AM

IN THE FEDERAL COURT OF AUSTRALIA
NEW SOUTH WALES DISTRICT REGISTRY NSD1LI6G of 2007

OPTIVER AUSTRALIA PTY LTD
(ACN 077 364 366)
Applicant

TIBRA TRADING PTY LTD
(ACN 117 881 749) & ORS
Respondents

CONFIDENTIALITY UNDERTAKING

I, [NAME, OCCUPATION, ADDRESS}, undertake to the Court and to each of the Respondents in
relation to:

{a} documents discovered by the Respondents pursuant ta the order of Tamberlin J made on 19
February 2009 which are identified by the Respondents as confidential (the “Confidential

Documents”); and

(b) all source code discovered by the Respondents pursuant to the order of Tamberlin J made on 19
February 2009 (the “Source Code”).

   

that:

1 I will not disclose the Confidential Documents or Source Code or any,s Biapes. content or part
thereof, nor will I disclose the contents of any expert report propareig Telatre ota He.
Confidential Documents or Source Cade, to any other person oth os hay hoe ed Person,
unless such disclosure is expressly authorised by the Respondeng onditedt by the
Court in these proceedings.

2 T will keep the Source Code and Confidential Documents confidentili

3 I will keep any notes which I make of the Source Code and Confidential Documents confidential
at all times and will not disclose those notes directly or indirectly to any person other than an
Authorised Person, untess such disclosure is expressly authorised by the Respondents or ordered
by the Court in these proceedings,

4 I will use the Source Code and Confidential Documents only for the purposes of providing
expert or legal, as applicable] advice on issues arising in these proceedings.

 

Filed on behalf of the Applicant by:

MALLESONS STEPHEN JAQUES DX 113 Sydney
_Level 61 Governor Phillip Tower T+61 2 9296 2000

1 Farrer Place F+61 2 9296 3999

Sydney, NSW 2000 Ref} MCG:JL

Matter no: 02-51 71-5988
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Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12, Page 71 of 82

5 I will not reproduce the Source Code and the Confidential Documents (other than creating a
maximum of two copies of the Confidential Documents solely for the use of the Applicant's
legal representatives) in any way or in any form except that if I am engaged by the Applicant as
an independent expert for the purposes of providing advice on issues arising in these proceedings
Imay:

{a} print in hard copy form one copy of any Source Code provided to me in electronic form:

(b} reproduce onto the hard disk drive of one secure, non-networked computer system
operated and controlled by me any Source Code provided to me in electronic form; and

(c} make notes of the Source Code for the purpose of providing advice as set out in

paragraph 4 above,

6 When f am not using or handling the Source Code or Confidential Documents, I will store them
and any copies of them made in accordance with paragraph 5 above (including any copy of the
Source Code in electronic form) under lock and key such that it is accessible only by me.

7 If f am engaged by the Applicant as an independent expert for the purposes of providing advice
on issues arising in these proceedings, I will deliver up to the Applicant’s legal representatives
all Confidential Docurnents, working notes, working papers, copies of any Confidential
Documents (including Source Code), drafts, notes and al! other documents relating to or
generated during my engagement by the Applicant upon either:

(a) being requested to do so by the Applicant's legal representatives; or
(b) by no Jater than 90 days from the date on which the RespouigeiiisGnilke.
¥ :

inspection all Documents discovered pursuant to these rders

ate

 
   
 
  

 
    
 

In this undertaking, the tenn “Authorised Person” means:

{a) any solicitor acting for the Applicant who has signed a Confide Rad
of this undertaking;

{b) any independent expert engaged by the Applicant in relation to this proceeding whose identity is
disclosed to the Respondents prior to any disclosure being made and who has signed a
Confidentiality Undertaking in the form of this undertaking; and

(¢} any other person whom the Respondents have advised me in writing is an Authorised Person.

Dated:

bene a cyeeone nee fe eeteues a feemaseeaweseanenne ee h ee neesesee

Signature of person giving undertaking Signature of witness

ee eet eee web bebe te cena sueeeess ranean AeA eer NEES whe Deena E ane

Print name Print name

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| Order NUT Entered

IN THE FEDERAL COURT OF AUSTRALIA
NEW SGUTH WALES DISTRICT REGISTRY
GENERAL DIVISION

 

No: (P)NSD6$1/2009

OPTIVER AUSTRALIA PTY LTD ACN 077 364 366
First Applicant

OPTIVER TRADING PTY LTD ACN 123 177 971
Second Applicant

TIBRA TRADING PTY LTD ACN 117 881 759
First Respondent

TIBRA CAPITAL PTY LTD ACN 120 313 160
Second Respondent

TIBRA INVESTMENT MANAGEMENT LTD ACN 124 402 160
Third Respondent

TIBRA GLOBAL SERVICES PTY LTD ACN 120 338 445
Fourth Respondent

DINESH BHANDARI
Fifth Respondent

GLENN WILLIAMSON
Sixth Respondent

TIMOTHY BERRY
Seventh Respondent

ANDREW KING
Eighth Respondent

KINSEY COTTON
Ninth Respondent

MARTIN NICKOLAS
Tenth Respondent

‘NICHOLAS BEGG
Eleventh Respondent

ORDER

JUDGE: Justice Emmett

 

Prepared in the New South Wales District Repistry, Federal Court Of Australia, Level 17, Law Courts Building, Queen's Square,
SYDNEY NSW 2001, Telaphone 02 9230 8557,
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12 Page 73 of 82

DATE OF ORDER: 21 May 2010

WHERE MADE: Sydney

THE COURT ORDERS THAT:

1. The respondents within 30 days give discovery of all documents falling within the

categories of discovery annexed to this motion and marked “A” by:

(a) serving a list in accordance with Order 15 rule 6; and

(b) producing to the applicants’ solicitors the documents identified in the list which are in
the possession, custody or power of the respondents or any of them.

2. The applicants complete their expert evidence in chief on Liability by filing and serving any
further affidavits or reports from Professor Zobel and Drs Harris and Dart by 30 September
2010. |

3. The applicants’ solicitors, counsel and any independent experts engaged by the applicants
who have executed appropriate confidentiality undertakings in this proceeding have
continued acéess to the Discovered Tibra Source Code (as.defined in Annexure C to the
Court orders of 12 August 2009), and any source code discovered pursuant to Order |
above, on the terms of the confidentiality regime in this proceeding until 30 September
2010. |

4, The respondents’ solicitors notify the applicants’ solicitors on or before 26 May 2010 as to
whether they consent, as part of the discovery within categories 1, 2 and 3, to undertake
forensic retrieval processes to seek to recover from the personal computer of Andrew King
currently in the possession of the Respondents’ solicitors, any material falling within
categories 1, 2, 3.

5. Any independent expert engaged by the applicants is to return to the applicants’ solicitors
all “Tibra Confidential Documents” and “Tibra Source Code” on or before 30 September
2010.

6. The matter be listed for directions on 22 October 2010.

 

Prepared in the New South Wales District Registry, Federal Court Of Australia, Level 17, Law Courts Building, Queen's Square,
SYDNEY NSW 2000, Telephone 02 9230 8567.
Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12 Page 74 of 82

7. Costs be reserved,

Date that entry is stamped:

Deputy District Registrar

 

 

Prepared in the New South Wales District Registry, Federal Court Of Australia, Level 17, Law Courts Building, Queen's Square,
SYDNEY NSW 2000, Telephone 82 9230 8567,
 

 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12, Page 75 of 82

A?
CATEGORIES FOR DISCOVERY BY THE RESPONDENTS

L. Any historical source code repository containing source code for computer programs
which perform any of the Functions, namely, the Tibra Programs.

2. All source code for computer programs which perform any of the Functions, namely,
the Tibra Programs.

3. All source code for the prototype autotrader allegedly developed by the First
Respondent between June 2006 and mid-November 2006 (as referred to in paragraph
60 of the leiter from McCabe Terrill to Mailesons dated 2 October 2007).

A, All Documents relating to the development by the Respondents of the Tibra Programs
in the form in which the Tibra Programs existed on or before 15 November 2006
(“the November 2006 Tibra Programs”) (including without limitation all technical
and functional specifications and other documents and all computer programs
provided by the Respondents or any of them to iMantras India (Private) Limited).

5, To the extent (if any) not covered by Category 4 above, the following documents in so
far as they relate to the November 2006 Tibra Programs:

3.1.1 README files and similar .TXT files;
5.1.2 top-level design diagrams;
5.1.3 detailed interface documentation for the various subsystems;

5.1.4 business plans and descriptions of how the software relates to the business
plan;

5.1.5 project plans and Gantt charts;
5.1.6 acceptance testing plans for each subsystem;
5.1.7 technical specifications for individual procedures and fonctions;

5.1.8 all Documents describing any third party material incorporated in the Tibra
Programs;

5.1.9 ail Documents describing the interfaces of external systems with which the
Tibra Programs must interact;

5.1.10 all Documents describing the version or versions of operating systems,
compilers and libraries which are required to compile the Tibra Programs as at
Novernber 2006;

5.1.11 all requirements, design, implementation, test, configuration management and
process documents that were not checked into the repository;

 

Prepared in the «Foa_Ld0ib» District Registry, Federal Court Of Australia, ePCA_LDO2A», Telephone «FCA_LD05s,
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12 Page 76 of 82

5.1.12 all references such as text books and papers used in the development of the
source code; and

5.1.13 all source code or pseudo code provided by external parties such as Ore and
the ASX that were not checked into the repository.

‘Documents” has the meaning in Order 1 rule 4 of the Federal Court Rules.

“Functions” means any of the following functions:
auto-trading (including hitting good trades and placing hedge orders);

providing a connection io a trading exchange over a network;

receiving market data (including stock prices and trades);

facilitating the placement of orders on a market;

updating trading parameters and data in the Ore trading system;

provision of calculated values using formulas based on financial mathematics;
estimation, management and presentation of risk in trading derivatives;
reconciliation of clearing company and in-house trading data; and

data logging, network socket/thread management.

“Tibra Programs” means the Tibra Programs as defined in the Further Amended Statement of
Claim filed 9 November 2009. .

 

 

Prepared in the «Fra_LdO lb» District Registry, Federal Court Of Australia, «FCA_LDO2A», Telephone «FCA_LDG»,
 

 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12. Page 77 of 82

| Order NOT Entered

IN THE FEDERAL COURT OF AUSTRALIA
NEW SOUTH WALES DISTRICT REGISTRY
GENERAL DIVISION

 

No: (PINSD6381/2009

OPTIVER AUSTRALIA PTY LTD ACN 077 364 366
First Applicant

OPTIVER TRADING PTY LTD ACN 123 177 971
Second Applicant

TIBRA TRADING PTY LTB ACN 117 881 759
First Respondent

TIBRA CAPITAL PTY LTD ACN 120 313 160
Second Respondent

TIBRA INVESTMENT MANAGEMENT LTD ACN 124 402 166
Third Respondent

TIBRA GLOBAL SERVICES PTY LTD ACN 120 338 445
Fourth Respondent

DINESH BHANDARI
Fifth Respondent

GLENN WILLIAMSON
Sixth Respondent

TIMOTHY BERRY
Seventh Respondent

ANDREW KING
Eighth Respondent

KINSEY COTTON
Ninth Respondent

MARTIN NICKOLAS
Tenth Respondent

NICHOLAS BEGG
Eleventh Respondent

ORDER

JUDGE: Justice Emmett

 

Prepared in the New South Wales District Registry, Federal Court Of Australia, Level 17, Law Courts Building, Queen's Square,
SYDNEY NSW 2000, Telephone 02 9230 8567.
 

Case 5:12-mc-80242-EJD Document 3 Filed 10/09/12, Page 78 of 82

DATE OF GRDER: 15 July 2011

WHERE MADE: Sydney

THE COURT ORDERS THAT:

1. The time for the respondents to file and serve their lay evidence on liability be extended
to Friday, 15 July 2011.

2. The time for the respondents to file and serve their expert evidence on liability be
extended to Friday, 16 September 2011.

3. By Monday, 29 July 2011, each party serve on the other party their ir proposed Categories
of documents for discovery.

4. The parties produce copies of documents in any agreed categories by 28 October 2011.

5. The matter be listed for argument in respect of any discovery categories that are not
agreed before a Judge of the Court on a date to be fixed following consultation with the

Associate to Emmett J.

6. Professor Zobel and Dr Harris have access to all “Tibra Confidential Documents” and
“Fibra Source Code” on the terms of their previously executed confidentiality
undertakings until 24 February 2012.

7. The applicants file and serve any lay and expert evidence in reply by Priday, 24 February _
2012,

8. The trial be set down for a period of 8 weeks, commencing on 4 June 2012.
9, The matter be listed for directions at 9. 30am on 2 March 2012,

10, Costs in relation to the proceeding generally be reserved.

Date that entry is stamped:

 

Prepared in the New South Wales District Registry, Federal Court Of Australia, Level 17, Law Courts Building, Queen's Square,
SYDNEY NSW 2000, Telephone 02 9230 8567.
 

 

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Deputy District Registrar

 

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SYDNEY NSW 2000, Telephone 02 9230 8567.
 

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Order NOT Entered

 

 

 

No: (PYNSD631/2009
Federal Court of Australia

District Registry: New South Wales

Division: General

OPTIVER AUSTRALIA PTY LTD and another named in the schedule

Applicant

TIBRA TRADING PTY LTD and others named in the schedule
Respondent

ORDER
JUDGE: Justice Rares
DATE OF ORDER: 14 June 2012

WHERE MADE: Sydney

THE COURT ORDERS THAT:
1. The respondents give discovery of:
(a) the fifth respondent’s private key or keys for the PGP encryption,

(b) all documents that evidence, refer to, or tend to show that any of the substantive
steps set out in the document headed “Things to Do:” appearing behind tab 17 of.
Ex JNL-18 were carried out, on or about the times specified in that document or
within the period from 17 July to 10 October 2006,

(c) the documents that ought to have been discovered pursuant to the orders for
discovery made on 21 May 2010 and 15 July 2011, to the extent that they have not
already done so, contained on or in all relevant employees’ local drives, private
drives or C drives, at any material time, on the computer system of any one or
more of the first, second, third or fourth respondents.

2. The first, second, third and fourth respondents together or separately and each of the
individual respondents separately prepare an up fo date part 3 of their respective lists
of documents that identifies each encrypted or formerly encrypted email document
and the date and circumstances in which it ceased to be in its or his possession,
custody or power. .

 

 

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3. The respondents file and serve a verified supplementary list of documents in
accordance with orders | and 2 on or before 19 June 2012.

4, The respondents have liberty to apply if there are difficulties in complying with these
orders.

5. The interlocutory application stand over until 2:15 pm on 20 June 2012.

Date that entry is stamped:

Deputy District Registrar
 

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Schedule
No:. (PINSD681/2009

Federal Court of Australia
District Registry: New South Wales

Division: General

OPTIVER AUSTRALIA PTY LTD

Second Applicant: OPTIVER TRADING PTY LTD ACN 123 177971

Second Respondent: TIBRA CAPITAL PTY LTD ACN 120313 160

Third Respondent: TIBRA INVESTMENT MANAGEMENT LTD ACN
, 124 402 160

Fourth Respondent: TIBRA GLOBAL SERVICES PTY LTD ACN 120 338

445

Fifth Respondent: DINESH BHANDARI

Sixth Respondent: . GLENN WILLIAMSON

Seventh Respondent: TIMOTHY BERRY

Eighth Respondent: ANDREW KING

Ninth Respondent: KINSEY COTTON

Tenth Respondent: MARTIN NICKOLAS

Eleventh Respondent: . NICHOLAS BEGG
